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                        EXHIBIT B
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                           SURPLUS LINES NOTICE


                                                 FLORIDA


THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA SURPLUS LINES LAW.
PERSONS INSURED BY SURPLUS LINES CARRIERS DO NOT HAVE THE
PROTECTION OF THE FLORIDA INSURANCE GUARANTY ACT TO THE EXTENT OF
ANY RIGHT OF RECOVERY FOR THE OBLIGATION OF AN INSOLVENT UNLICENSED
INSURER.

SURPLUS LINES INSURERS’ POLICY RATES AND FORMS ARE NOT APPROVED BY
ANY FLORIDA REGULATORY AGENCY.




Endurance American Specialty Insurance Company     1 of 1        SN 9048 0914 FL
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 Endurance
Endurance American Specialty Insurance Company
16052 Swingley Ridge Road
Suite 130
St. Louis, Missouri 63017
Phone: 636-681-1220
Fax: 636-681-1221
                      HEALTHCARE UMBRELLA LIABILITY POLICY
                                 DECLARATIONS

Policy No: HLC10006856901                           Producer: Marsh, Inc.

Replaces: HLC10006856900                            Address: 3560 Lenox Road, Suite 2400
                                                             Atlanta, GA 30326

In consideration for the payment of premium and subject to all of the provisions of this policy, we
agree to provide to you the insurance as stated in this policy.


Item 1      Named Insured: Baptist Health Care Corporation

            Mailing Address of Named Insured: 1717 North E Street, Suite 402
                                              Pensacola, FL 32501

             Individual                          Organization
             Partnership/Joint Venture           Limited Liability Company
             Trust

Item 2      Policy Period: From: April 15, 2016         To: April 15, 2017

            12:01 A.M Standard Time at the address shown in item 1, above.

Item 3      Limits of Liability:

                (a) U.S. $25,000,000      Each Occurrence or Medical Incident Limit
                (b) U.S. $25,000,000      General Aggregate Limit
                                          (maximum limit for all Occurrences & Medical Incidents paid
                                          by this Policy)
                (c) Retained Limit        $ 50,000

            Should any single event or accident result in both an occurrence and a medical
            incident for which coverage is provided by the terms and conditions of the
            coverage parts of this Policy, our total liability for such single event shall not
            exceed the amount set forth in item 3(a), above.



   NOTE – SEE ENCLOSED NOTICE FOR “SURPLUS LINES NOTIFICATION”



Endurance American Specialty Insurance Company                                        HLC 0001 1208
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 HEALTHCARE UMBRELLA LIABILITY INSURANCE POLICY DECLARATIONS
                          (Continued)


Item 4       Premium for Policy

             Premium:             $ 422,100

             Minimum Earned Premium:             25%


             You have elected to purchase coverage offered under the Terrorism Risk Insurance
                Extension Act as amended and reauthorized in 2007. The charge for this coverage is
                $ 0,000 and is not included in the Premium as stated in item 4.

              You have not elected to purchase coverage offered under the Terrorism Risk insurance
                Extension Act as amended and reauthorized.

              The Terrorism Risk Insurance Extension Act as amended and reauthorized in 2007 does
                not apply.

Item 5       Retroactive Date (only applicable to claims made coverage):

             Lead $20,000,000 limit:
             January 1, 1986 and various as per Named Insured Extension Endorsement
             April 15, 2002 General Liability and Employee Benefits Liability

             Top $5,000,000 limit:    April 15, 2011

             If no date is shown, we will consider the umbrella retroactive date for the Section Coverage
             - Professional Healthcare Services Liability (including Patient General Liability) -- Claims
             Made to be the same as the beginning date of this policy.

             If this policy provides coverage on a claims made basis to more than one insured and they
             maintain different retroactive dates, they will be named with their respective retroactive
             dates on a separate Named Insured and Retroactive Date Endorsement.

Item 6       Forms Attached:

                See Forms and Endorsements Schedule


   NOTE – SEE ENCLOSED NOTICE FOR “SURPLUS LINES NOTIFICATION”


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 HEALTHCARE UMBRELLA LIABILITY INSURANCE POLICY DECLARATIONS
                          (Continued)



ENDURANCE AMERICAN SPECIALTY INSURANCE COMPANY




                ____________________________
Signed By:      Authori zed Representative

Date:           May 26, 2016




   NOTE – SEE ENCLOSED NOTICE FOR “SURPLUS LINES NOTIFICATION”




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                                                                                Endurance
Healthcare Umbrella Liability Policy
THIS POLICY MAY CONTAIN BOTH CLAIMS MADE AND OCCURRENCE
COVERAGES. READ THE ENTIRE POLICY CAREFULLY TO DETERMINE YOUR
RIGHTS, DUTIES AND WHAT IS AND WHAT IS NOT COVERED.
CERTAIN PORTIONS OF THIS POLICY ARE WRITTEN ON A CLAIMS MADE AND
REPORTED BASIS. SUBJECT TO THE TERMS AND CONDITIONS OF THIS POLICY,
CLAIMS MUST BE FIRST MADE AND REPORTED TO US IN WRITING DURING OUR
POLICY PERIOD OR ANY EXTENSION PERIODS.
NOTICE: THIS POLICY IS INCOMPLETE UNLESS THE DECLARATIONS, THE
SCHEDULE OF UNDERLYING INSURANCE AND THE INSURING AGREEMENT AND
THE GENERAL POLICY PROVISIONS, ARE ATTACHED TO OR INCLUDED WITHIN
THIS POLICY.
This Policy has been issued in reliance upon the statements made by you in the information submitted
in applying for this insurance. Various provisions in the Policy restrict coverage.
Wherever used in this Policy, the words “You” and Your” refer to the Named Insured shown in the
Declarations and the words “We”, “Us”, and “Our” refer to Endurance American Specialty Insurance
Company, the Company providing this insurance. Other words and phrases in this Policy that appear
in bold have special meaning. Refer to the Definitions provision in this Section when the meanings
are not defined where used.

SECTION I. INSURING AGREEMENT

Subject always to the Limits of Liability as set forth in the Declarations and Section IV. below, this
Policy shall indemnify you in accordance with the same warranties, terms, conditions, exclusions
and limitations as are contained in the Underlying Policy(ies) set forth in the Schedule of
Underlying Insurance, subject to the premium, limits of liability, policy period, warranties,
exclusions, limitations and any other terms and conditions of this Policy that may be inconsistent
with the Underlying Policy(ies) including any and all endorsements attached hereto. The insurance
provided by this Policy will not be broader than the insurance coverage provided by the Underlying
Policy(ies). Any restrictive Policy terms and/or conditions that apply to the Underlying Policies
that are in excess of the Underlying Policy(ies) but underlying to this Policy, will also apply to this
Policy unless amended by endorsement.

A.     Umbrella Claims Made Professional Liability

We will indemnify you, subject to the Limits of Liability set forth in the Declarations, for Ultimate
Net Loss, including Defense Costs and Expenses in excess of the Applicable Underlying
Insurance, which you become legally obligated to pay as a result of a Claim alleging a Medical
Incident, provided always that:

   1. such Claim is first made against you during the Policy Period or any applicable Extended
Reporting Period; and

     2. notice of such Claim is given to us in accordance with the terms of this Policy.

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B.     Umbrella Occurrence General Liability

We will indemnify you, subject to the Limits of Liability set forth in the Declarations, for Ultimate
Net Loss, including Defense Costs and Expenses in excess of the Applicable Underlying
Insurance, which you become legally obligated to pay as a result of an Claim alleging Bodily
Injury, Property Damage or Personal or Advertising Injury caused by an Occurrence;
provided always that:

    1. such Bodily Injury, Property Damage or Personal or Advertising Injury occurs during
the Policy Period; and

     2. notice of such Claim is given to us in accordance with the terms of this Policy.


We shall have the right but not the duty to assume charge of the defense or settlement of any claim
or suit against you upon exhaustion of the applicable limits of liability of the Underlying
Policy(ies). If we have exercised such right, we may withdraw from the defense and tender the
defense to you upon exhaustion of the applicable Limits of Liability under this Policy. If we do not
exercise the right to assume charge of such defense or settlement, or if the applicable limits of the
Underlying Policy(ies) are not exhausted, we shall have the right and shall be given the opportunity
to associate effectively with you or the Underlying Insurer or both, in the defense and control of
any claim or suit likely to involve this Policy. In such events, you and the Underlying Insurer shall
cooperate in the defense of such claim or suit with us.

You shall not settle any claim or suit for an amount within the Limit of Liability or incur any
expense without our prior written consent.

In return for the premium indicated herein, the Policy agreed upon shall be subject to the following
General Conditions, Exclusions and Special Conditions included below, and the Declarations (‘this
Policy”).


SECTION II. GENERAL POLICY PROVISIONS
All coverage part(s) of this Policy are subject to the following General Policy Provisions:



1.        Limits of Liability

     A.      Our liability for ultimate net loss under this Policy, regardless of the number of persons
             or organizations who are Insureds, the number of coverages provided by the attached
             Coverage Part(s), or the number of losses or claims made or suits brought against any and
             all Insureds, shall be determined as follows:

             (i)The Occurrence Limit set forth in Item 3 (a) of the Declarations is the most we
                will pay for any one occurrence or medical incident. Should any single event
                result in both an occurrence and a medical incident for which coverage is
                provided by the terms and conditions of the coverage parts of this Policy, our total
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                    liability for such single event shall not exceed the amount stated as the Occurrence
                    Limit in Item 3(a);

             (ii)   Subject to paragraph (i) above, our liability for all ultimate net loss arising from
                    all occurrences or medical incidents covered by this Policy, shall not exceed the
                    amount indicated as the Aggregate Limit, as stated in Item 3 (b) of the
                    Declarations.

     B.      If the underlying amounts for the applicable underlying insurance as shown on the
             Schedule of Underlying Insurance are reduced or exhausted due to payment of covered
             losses, claims or suits, subject to our Policy’s Coverage Part(s); Definitions; Exclusions;
             Conditions and other terms, our limits will apply:

             (i)    excess of the reduced underlying amounts or
             (ii)   in place of underlying amounts that are exhausted; but provided these extensions
                    of coverage under Provision B above apply only for:

                    (a) losses, claims or suits arising out of occurrences that take place during our
                        policy period and such loss, claim or suit is brought in the covered territory, if
                        applicable underlying insurance listed on the Schedule of Underlying
                        Insurance is provided on an occurrence basis; or

                    (b) losses, claims or suits arising out of occurrences or medical incidents that
                        take place after the Retroactive Date as stated in Item 5 of our Declarations,
                        but before our expiration or termination date, and where the claims are first
                        made and reported to us in writing during our policy period or any Extended
                        Reporting Period on our Policy and such loss, claim or suit is brought in the
                        covered territory, if applicable underlying insurance listed on the Schedule
                        of Underlying Insurance is provided on a claims made basis.

Should any single event or accident result in both an occurrence and medical incident for which
coverage is provided by the terms and conditions of the coverage parts of this Policy, our total
liability for such single event shall not exceed the amount set forth in Item 3(a) of the Declarations.

2.        Underlying Limits

Any underlying amounts, as listed on the Schedule of Underlying Insurance, shall only be reduced
or exhausted by the payment of losses, claims or suits which would, except for the amount thereof,
be covered by this Policy and you shall, in addition thereto, bear all defense costs and expenses up
until such time as the underlying amounts are exhausted.
We may agree that the payment of defense costs and expenses shall reduce or exhaust the
underlying amounts but only if endorsed in writing onto this Policy.

3.        Defense Costs and Expenses

We shall have the right but not the duty to assume charge of the defense or settlement of any claim or
suit against any insured upon exhaustion of the underlying amounts listed on the Schedule of
Endurance American Specialty Insurance Company                                       HLC 0201 1208
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Underlying Insurance. If we have exercised such right, we may withdraw from the defense and
tender the defense to you upon exhaustion of the applicable Limit of Liability of this Policy. We
shall not be obligated to investigate, defend or pay any loss, claim or suit nor will we be obligated to
pay any defense costs and expenses after the applicable Limit of Liability for our Policy has been
exhausted by payment of ultimate net loss.
We shall also have the right, but not the duty, at our expense, to participate in the defense or
settlement of any claim or suit against any insured that may affect this Policy.
Defense costs and expenses will reduce our Limits of Liability as listed on the Declaration page.

4.     Exclusions

This policy shall not apply to:
A.     Aircraft

       Any bodily injury, property damage, personal injury, advertising injury or medical
       incident arising from ownership, entrustment, maintenance, operation, use, loading or
       unloading of any aircraft.
       This exclusion does not apply if such liability is covered by valid and collectible applicable
       underlying insurance listed in the Schedule of Underlying Insurance. However, the
       insurance provided by our Policy will be no broader than the insurance coverage scheduled as
       such.

B.     Alcoholic Beverages

       Any bodily injury, property damage, personal injury, advertising injury or medical
       incident for which any insured may be held liable by reason of:
               (i)     causing or contributing to the intoxication of any person;
               (ii)    the furnishing of alcoholic beverages to a person under the legal drinking age
                       or under the influence of alcohol; or
               (iii)   any statute, ordinance or regulation relating to the sale, gift, distribution or use
                       of alcoholic beverages.

       This exclusion applies only if any insured is in the business of manufacturing, distributing,
       selling, serving or furnishing alcoholic beverages.

C.     Asbestos and Silica

               (i)  Any liability for property damage, bodily injury, personal injury,
                    advertising injury or medical incidents, at any time arising out of the
                    manufacture of, mining of, use of, sale of, installation of, removal of,
                    distribution of, transportation of or exposure to asbestos or silica products,
                    asbestos or silica fibers or asbestos or silica dust.
            (ii)    Any obligation of any insured to indemnify or contribute on behalf of any
                    party because of property damage, bodily injury, personal injury,
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                      advertising injury or medical incident, resulting from or contributed to, by
                      the manufacture of, mining of, use of, sale of, installation of, removal of,
                      distribution of, transportation of or exposure to asbestos or silica, asbestos or
                      silica products, asbestos or silica fibers or asbestos or silica dust.
              (iii)   Any obligation to investigate, defend or settle any loss, claim or suit against
                      any insured which alleges property damage, bodily injury, personal injury,
                      advertising injury or medical incident, resulting from or contributed to, by
                      the manufacture of, mining of, use of, sale of, installation of, removal of,
                      distribution of, transportation of or exposure to asbestos or silica, asbestos or
                      silica products, asbestos or silica fibers or asbestos or silica dust.

D.    Autos

              (i)     Any bodily injury, property damage, personal injury, advertising injury or
                      medical incident arising from the ownership, entrustment, maintenance,
                      operation, use, loading or unloading of any autos.

              Part (i) of this exclusion does not apply if such liability is covered by valid and
              collectible applicable underlying insurance listed in the Schedule of Underlying
              Insurance. However, the insurance provided by our Policy will be no broader than the
              insurance coverage scheduled as such.

              (ii)    Liability imposed on any insured under any uninsured/underinsured motorist
                      or automobile no-fault or first party personal injury law.

E.    Care, Custody and Control

              Property damage to:
              (i)     personal property being transported by any insured;
              (ii)    property of whatsoever nature owned by, used by, loaned by, leased by, rented
                      to or occupied by any insured;
              (iii)   personal property used by or in the care, custody or control of any insured;
              (iv)    premises any insured sells, gives away or abandons, if the property damage
                      arises out of any part of those premises; except if the premises are any
                      insured’s work and were never occupied, rented or held for rental by any
                      insured;
              (v)     that particular part of real property on which any insured or any contractors or
                      subcontractors working directly or indirectly on any insured’s behalf are
                      performing operations if the property damage arises out of those operations;

              but parts (iii), (iv) and (v) of this exclusion do not apply with respect to liability of any
              insured under a written sidetrack agreement.




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F.    Contractual Liability

      Any bodily injury, property damage, personal injury, advertising injury or medical
      incident for which any insured is obligated to pay damages by reason of the assumption of
      liability in a contract or agreement.
      This exclusion does not apply to liability for damages:
             (i)     assumed in a contract or agreement that is an insured contract, provided the
                     bodily injury, property damage, personal injury, advertising injury or
                     medical incident occurs subsequent to the execution of the contract or
                     agreement; or
             (ii)    that any insured would have in the absence of the contract or agreement.


G.    Criminal Acts
      Any loss, claim or suit for bodily injury, property damage, personal injury, advertising
      injury or medical incident brought about or contributed to by any dishonest or fraudulent act
      or omission committed by or at the direction of any insured; any willful violation of any
      statute, rule or law or the gaining by any insured of any profit, remuneration or advantage to
      which such insured is not legally entitled. The determination of the applicability of this
      Exclusion may be established by an admission, final adjudication or finding in a proceeding
      constituting a claim under the Policy or any proceeding separate from or collateral to the
      claim.

H.    Cross Claims and Suits

      Any loss, claim or suit for bodily injury, property damage, personal injury, advertising
      injury, or medical incident which is initiated, alleged, or caused to be brought about by any
      insured covered by this policy against any other insured covered by this policy. This does
      not apply, however, to any insured covered by the Policy who seeks medical professional
      services provided by another insured covered by the Policy.



I.    Damage to Impaired Property

      Any property damage to impaired property or property that has not been physically
      damaged arising out of:
             (i)     a defect, deficiency, inadequacy, or dangerous condition in any insured’s
                     product or any insured’s work; or
             (ii)    a delay or failure by any insured or anyone acting on any insured’s behalf to
                     perform a contract or an agreement in accordance with its terms;



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      but this exclusion does not apply to the loss of use of other property arising out of sudden and
      accidental physical damage to any insured’s product or any insured’s work after it has been
      put to its intended use.

J.    Directors & Officers

      Any liability arising from any wrongful act of any director or officer of any insured in the
      discharge or performance of their duties as such.
      For the purposes of this exclusion, wrongful act means any actual or alleged error,
      misstatement, misleading statement, act or omission, neglect, breach of duty, or breach of
      contract by any director or officer of any insured in the discharge of their duties, individually
      or collectively, or any matter claimed against them solely by reason of their being directors or
      officers of any insured.

K.    Employee Benefits

      Any liability arising out of the administration of any insured’s Employee Benefits program.
      Employee Benefits includes but is not limited to:
             (i)     group life, health, dental or optical insurance;
             (ii)    health maintenance organizations (HMO) or preferred provider organizations
                     (PPO);
             (iii)   profit-sharing, savings, employee stock subscription or employee loan
                     programs;
             (iv)    pension, retirement or salary continuation plans;
             (v)     employee discount, travel or vacation plans; or
             (vi)    any similar plan or program.

      This exclusion does not apply if such liability is covered by valid and collectible applicable
      underlying insurance listed in the Schedule of Underlying Insurance. However, the
      insurance provided by our Policy will be no broader than the insurance coverage scheduled as
      such.

L.    Employers’ Liability

             Any bodily injury, property damage, personal injury, or advertising injury
             sustained by:
             (i)    any employee of any insured arising out of and in the course of employment;
             (ii)   any spouse, child, parent, brother, or sister of the employee as a consequence
                    of part (i) of this exclusion above;
             (iii) any employee of any insured for which any insured is held liable under the
                    provisions of the Merchant Marine Act of 1920 (known as the Jones Act) as
                    amended, the Federal Employees Liability Act as amended or any similar laws;

      paragraphs (i), (ii) and (iii) of this exclusion apply whether any insured may be liable as an
      employer or in any other capacity, unless such liability is covered by valid and collectible
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       applicable underlying insurance listed in the Schedule of Underlying Insurance. However,
       the insurance provided by our Policy will be no broader than the insurance coverage
       scheduled as such.
       This exclusion applies to any obligation to share damages with or repay someone else who
       must pay damages because of the injury.

M.     Employment Practices Liability

              Any bodily injury, property damage, personal injury, advertising injury, or
              medical incident costs, fines or other liability arising out of:
              (i)     refusal to employ;
              (ii)    termination of employment;
              (iii)   coercion, demotion evaluation, reassignment, discipline, defamation,
                      harassment, humiliation, discrimination, or other employment related practices,
                      policies, acts or omissions; or
              (iv)    consequential bodily injury, property damage, personal injury,
                      advertising injury or medical incident as a result of any acts described in
                      parts (i), (ii) or (iii) of this exclusion above.
              (v)     the National Labor Relations Act (29 U.S.C. 151 et seq.), or related statutes, or
                      any law, statute or regulation of any jurisdiction similar to the foregoing, or
                      arising as a result of a dispute with any labor union or labor organization,
                      including, but not limited to, a lockout, strike, picket line, the hiring of
                      replacement workers, outsourcing or other similar actions, or arising out of a
                      collective bargaining agreement or similar agreement.

       This exclusion applies whether any insured may be liable as an employer or in any other
       capacity.


N.     ERISA

       Any violation or alleged violation of the Employee Retirement Income Security Act of 1974
       or any amendment or addition thereto or similar provisions of any federal, state, or local law.

O.     Expected or Intended

       Any bodily injury or property damage expected or intended from the standpoint of any
       insured. This exclusion does not apply to bodily injury resulting from the use of reasonable
       force to protect persons or property.

P.     Known Losses

       This Policy excludes coverage for any medical incident or occurrence, claim, circumstance,
       event or series of medical incidents or occurrences, claims, circumstances or events:

            (i) that was the subject, in whole or in part, of any notice to any insurer prior to the
                inception date of coverage under this agreement;
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             (ii) that was known to any risk management, legal or insurance personnel, peer review
                  committee or their designees prior to the commencement date of coverage under
                  this agreement that was reported or should have been reported to any other insurer
                  prior to the commencement date of this Policy.

      If this Policy is a renewal of an agreement previously issued by us, and the coverage provided
      by us to you was continuously and without interruption in effect for the entire time between
      the inception date of the first such Policy and the inception date of coverage under this Policy,
      the reference in this Policy to the inception date above shall be deemed to refer to the
      inception date of the first Policy under which we began to provide you with the continuous
      and uninterrupted coverage of which this Policy is a renewal.

      This Exclusion does not apply in instances in which the only pre-claim activity was the notice
      of an incident by any insured under the Policy to its risk management staff whether or not
      such notice resulted in an internal risk management investigation.

Q.    Loss of Data or Personal Information

      Any liability arising from the loss of, unauthorized disclosure of, or unauthorized access to
      data or personal information, including Private Medical Information, as defined in the
      Health Insurance Portability and Accountability Act of 1996 (commonly referred to as
      HIPAA.

R.    Prior Insolvency/Bankruptcy

      Any medical incident, occurrence, claim, circumstance, event or series of medical incidents
      occurrences, claims, circumstances or events arising from an insolvency or bankruptcy of
      you or any other insured covered under the Policy which was filed prior to the
      commencement of the Policy.

 S.   Other Insurance

      Any medical incident or occurrence, claim, circumstance, event or series of medical
      incidents, occurrences, claims, circumstances or events that may be covered under any other
      insurance effective prior to the commencement date of this Policy, including any coverage
      afforded by any extended reporting period.

T.    Managed Care Errors and Omissions

      Any liability arising out of the operation, ownership, management or control of any Health
      Maintenance Organization or Preferred Provider Organization (PPO) or other similar
      organization. However, this exclusion does not apply to your participation solely as a
      provider of health care services to a Health Maintenance Organization (HMO) or Preferred
      Provider Organization (PPO) or other similar organization not owned, managed or controlled
      by you.




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U.    Management Services

      Any liability arising out of management services provided by any insured or independent
      contractors retained by any insured, to hospitals or other healthcare facilities not owned by
      the Named Insured or any insured covered under this Policy, unless accepted by us and
      endorsed hereto. We will provide limited automatic coverage to newly acquired management
      services for 30 days or for the remainder of the Policy Period, whichever is less.

V.    Mobile Equipment

             Any bodily injury or property damage arising out of:
             (i)     The transportation of mobile equipment by an auto owned or operated by or
                     rented or loaned to any insured; or
             (ii)    The use of mobile equipment in, or while in the practice or preparation for, a
                     prearranged racing, speed or demolition contest or in any stunting activity.

W.    Mold/Mildew and Other Fungi

      Any loss, claim or suit directly or indirectly arising out of, relating to or in connection with
      exposure to or the manifestation, release, dispersal, seepage, migration, discharge,
      appearance, presence, reproduction or growth of mold, mildew, spores, mycotoxins, fungi,
      organic pathogens or other micro organisms of any type, nature or description. Such loss,
      claim or suit is excluded regardless of whether they arise in connection with:
             (i)     Bodily injury;
             (ii)    Property damage;
             (iii)   Personal injury
             (iv)    Advertising injury; or
             (v)     Medical Incident

      There shall be no obligation to defend you against any loss, claim or suit excluded herein
      regardless of whether the allegations forming the basis of such loss, claim or suit are
      groundless, false or fraudulent.
      This provision expressly excludes:
      any cost, expense or charge to test, monitor, clean up, remediate, remove, contain, treat,
      detoxify, neutralize, rehabilitate, or in any way respond to or assess the affects of mold,
      mildew, spores, mycotoxins, fungi, organic pathogens or other micro organisms of any type,
      nature or description; and
      any costs, expense, charge, fine or penalty, incurred, sustained, or imposed by order,
      direction, request or agreement of any court, governmental agency, or any civil, public or
      military authority.
      This exclusion shall not apply to any loss, claim or suit directly or indirectly arising out of,
      relating to, or in connection with the insured’s use of mold, mildew, spores, mycotoxins,
      fungi, organic pathogens or other micro organisms of any type, nature or description in
      connection with the rendering of professional health care services.

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      For the purposes of this exclusion, organic pathogens means any organic irritant or
      contaminant, including but not limited to mold, fungus, bacteria, virus, or their by-products
      such as mycotoxins, mildew, or biogenic aerosol. Organic pathogens include but are not
      limited to Aspergillus, Penicillium, Stachybotrys Chartarum, Stachboytrys Atra, Trichodema
      and Fusarium Memnoniella.

X.    Non-compensatory Damages

             Any treble or extra-contractual damages are excluded including, but not limited to:
             (i)     civil or criminal fines, sanctions, penalties or forfeitures, whether pursuant to
                     law, statute or regulation or court rule;
             (ii)    the return or restitution of fees, expenses or costs;
             (iii)   the multiplied portion of multiplied awards;
             (iv)    injunctive or declaratory relief;
             (v)     plaintiff’s attorneys fees associated with any of the above.

Y.    Nuclear Energy Liability

             Any bodily injury, property damage, personal injury, advertising injury or
             medical incident in the United States, its territories or possessions, Puerto Rico or the
             Canal Zone:
             (i)    with respect to which any insured under this policy is also an insured under a
                    nuclear energy liability policy issued by Nuclear Energy Liability Insurance
                    Association, Mutual Atomic Energy Liability Underwriters or Nuclear
                    Insurance Association of Canada or any of their successors, or would be an
                    insured under any such policy but for its termination upon exhaustion of its
                    limits of liability;
             (ii)   resulting from the hazardous properties of nuclear material and with respect
                    to which (a) any person or organization is required to maintain financial
                    protection pursuant to the Atomic Energy Act of 1954, or any amendatory law
                    thereof, or (b) any insured is or, had this policy not been issued, would be
                    entitled to indemnity from the United States of America, or any agency thereof
                    under any agreement entered into by the United States of America, or any
                    agency thereof, with any person or organization.

             Under any Medical Payments Coverage, or any Supplementary Payments Provision
             relating to immediate medical or surgical relief, to expenses incurred with respect to
             bodily injury, sickness, disease or death resulting from the hazardous properties of
             nuclear material and arising out of the operation of a nuclear facility by any person or
             organization in the United States, its territories or possessions, Puerto Rico or the
             Canal Zone.

             (iii)    Under any Liability Coverage, to injury, sickness, disease, death or destruction
                     resulting from the hazardous properties of nuclear material, if:

                     (a) the nuclear material (1) is at any nuclear facility owned by, or operated
                         by or on behalf of, an insured in the United States, its territories or
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                        possessions, Puerto Rico or the Canal Zone; or (2) has been discharged or
                        dispersed therefrom;
                    (b) the nuclear material is contained in spent fuel or waste at any time
                        possessed, handled, used, processed, stored, transported or disposed of by
                        or on behalf of an insured in the United States, its territories or
                        possessions, Puerto Rico or the Canal Zone; or
                    (c) the injury or damage arises out of the furnishing by an insured of services,
                        materials, parts or equipment in connection with the planning, construction,
                        maintenance, operation or use of any nuclear facility, but if such facility is
                        located within the United States of America, its territories or possessions,
                        Puerto Rico or the Canal Zone, this exclusion part iii applies only to injury
                        to or destruction of property at such nuclear facility.

             As used in this exclusion:
             Hazardous properties include radioactive, toxic or explosive properties.

             Nuclear material means source material, special nuclear material or by-product
             material.

             Source material, special nuclear material and by-product material have the
             meanings given them in the Atomic Energy Act of 1954 or in any law amendatory
             thereof.
             Spent fuel means any fuel element or fuel component, solid or liquid, which has been
             used or exposed to radiation in a nuclear reactor.
             Waste means any waste material (1) containing by-product material other than the
             tailings or waste produced by the extraction or concentration of uranium or thorium
             from any ore processed primarily for its source material content; and (2) resulting
             from the operation by any person or organization of any nuclear facility included
             within the definition of nuclear facility herein.

             Nuclear facility means
                   (i)      any nuclear reactor;
                   (ii)     any equipment or device designed or used for (1) separating the
                            isotopes of uranium or plutonium, (2) processing or utilizing spent
                            fuel, or (3) handling, processing or packaging waste;
                   (iii) any equipment or device used for the processing, fabricating or alloying
                            of special nuclear material if at any time the total amount of such
                            material in the custody of the insured at the premises where such
                            equipment or device is located consists of or contains more than 250
                            grams of plutonium or uranium 233 or any combination thereof, or
                            more than 250 grams of uranium 235; or
                   (iv)     any structure, basin, excavation, premises or place prepared or used for
                            the storage or disposal of waste; and includes the site on which any of
                            the foregoing is located, all operations conducted on such site and all
                            premises used for such operations. Nuclear reactor means any
                            apparatus designed or used to sustain nuclear fission in a self-

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                            supporting chain reaction or to contain a critical mass of fissionable
                            material.

             For purposes of this exclusion, property damage includes all forms of radioactive
             contamination of property.

             This exclusion shall not apply to nuclear medicine or radiation therapy furnished as
             professional healthcare services.

Z.    Owned Property and Products / Work

             (i)     Any property damage to property owned by any insured or purchased by any
                     insured under an installment sales contract or property on consignment to any
                     insured;
             (ii)    any property damage to any insured’s product caused by such products or
                     any of their parts; or
             (iii)   any property damage to any insured’s work arising out of the work or out of
                     materials, parts or equipment furnished with such work.

AA.   Personal Injury

             Any personal injury arising out of:
             (i)     oral or written publication of material, if done by or at the direction of any
                     insured with the knowledge of its falsity, or whose first publication took place
                     before the beginning of our policy period;
             (ii)    the willful violation of a penal statute, law, regulation or ordinance committed
                     by or with the consent of any insured.

BB.   Pollution

             (i)     Any bodily injury, property damage, personal injury, advertising injury or
                     medical incident arising out of the actual, alleged or threatened discharged,
                     dispersal, release or escape of pollutants or toxic substances:
                     (a) at or from premises owned, rented or occupied by any insured;
                     (b) at or from any site or location used by or for any insured or others for the
                         handling, storage, disposal, processing or treatment of waste;
                     (c) which are at any time transported, handled, stored, treated, disposed of, or
                         processed as waste by or for any insured or any person or organization for
                         whom any insured may be legally responsible; or
                     (d) at or from any site or location on which any insured or any contractors or
                         sub-contractors working directly or indirectly on behalf of any insured are
                         performing operations:
                                (1) if the pollutants or toxic substances are brought on or to the site
                                    or location in connection with such operations; or
                                (2) if the operations are to test for, monitor, clean up, remove,
                                    contain, treat, detoxify or neutralize the pollutants or toxic
                                    substances.

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             (ii)    Any loss, claim, suit, cost or expense arising out of any governmental direction
                     or request that any insured test for, monitor, clean up, remove, contain, treat,
                     detoxify or neutralize the pollutants or toxic substances.

      Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including
      smoke vapor, soot, fumes, acids, alkalis, chemicals and waste.
      Waste includes materials to be recycled, reconditioned or reclaimed.
      Sections (i) (a) and (d) above do not apply to bodily injury, property damage, personal
      injury, advertising injury or medical incidents caused by heat, smoke or fumes from a
      hostile fire. As used in the exclusion, a hostile fire means one that becomes uncontrollable or
      breaks out from where it was intended to be.

CC.   Product Recall

      Any damages claimed for any loss, cost, or expense incurred by any insured or others for the
      loss of use, withdrawal, recall, inspection, repair, replacement, adjustment, removal or
      disposal of:
             (i)     any insured’s product;
             (ii)    any insured’s work; or
             (iii)   impaired property;

      if such product, work, or property is withdrawn or recalled from the market or from use by
      any person or organization because of a known or suspected defect, deficiency, inadequacy,
      or dangerous condition in it.

DD.   RICO

      Any liability arising out of the Racketeer Influenced and Corrupt Organizations (RICO) Act.

EE.   Statutory Obligations to Employees

      Any obligation for which any insured or any company as its insurer may be held liable under
      any:
             (i)     Workers’ Compensation laws;
             (ii)    Unemployment Compensation laws;
             (iii)   Disability Benefits laws;
             (iv)    United States Longshoremen’s and Harbor Workers Act, and any amendments;
             (v)     Occupational Disease laws; or
             (vi)    any similar laws.

FF.   Sexual Misconduct

      Any actual or alleged sexual misconduct or sexual abuse, including, but not limited to, any
      physical acts or oral statement of a sexually suggestive manner, or any unwelcome physical
      conduct or touching.
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      Whenever coverage under any provision of this Policy would otherwise be excluded,
      suspended or lost because of Exclusion FF. Sexual Misconduct, the Company agrees that the
      coverage as would be afforded by this Policy will apply to each insured who did not
      personally commit or participate in said acts, or agree to any concealment of the acts.
      However, if each insured had knowledge of said acts, coverage would not be afforded. For
      coverage to apply, the insured must notify the Company of the Claim as soon as the insured
      becomes aware of the Claim.

GG.   Unfair Trade Practices

      Any allegations, liability or disputes, arising from or related to anti-trust, price fixing, unfair
      competition or trade practices; a dispute over fees, income or revenue; the inducement to enter
      into, the interference with or the dissolution or termination of any business or economic
      relationship; or violations of any federal, state or local law (including but not limited to Title
      15 of the United States Code or similar state statute) that prohibits the unlawful restrain of
      trade, business or profession.

      This exclusion shall not apply to allegations of restraint of trade, business or profession
      arising out of the activities of the insured’s professional boards or committees which are
      described in the definition of Professional healthcare services provided that settlement
      thereof or final judgment rendered therein does not affirm a violation of law. Regardless of
      such final settlement or adjudication, we will provide a defense as to such allegations.

HH.   War and Terrorism

      Any loss, damage, demand, claim, occurrence, event or suit arising out of or in any way
      related to:

      1.      Hostile or warlike action in time of peace or war, including action in hindering,
      combating, or defending against an actual, impending, or expected attack by any government
      or sovereign power (de jure or de facto), or by any authority maintaining or using military,
      naval or air forces; or by any agent of any such government, power, authority, or forces; any
      weapon employing atomic fission or radioactive force whether in time or peace or war; civil
      war, insurrection, rebellion, revolution, usurped power, or action taken by governmental
      authority in hindering, combating or defending against such an occurrence, confiscation,
      nationalization, requisition, seizure, quarantine, or destruction by Customs regulations, order
      of any government, local authority, or public authority; or risks of contraband, illegal
      transportation, or trade;

      2.      Any terrorist act, including, but not limited to, an act of terrorism, or preparation in
      respect of action or threat of action, designed to influence the government de jure or de facto
      of any nation or political division thereof, or in pursuit of political, religious, ideological,
      social or economic objectives or similar purposes to intimidate the public or a section of the
      public of any nation by any person or group(s) of persons whether alone or on behalf of or in
      connection with any organization(s) or government(s) de jure or de facto, and which involves
      violence against one or more persons; or involves damage to property; or endangers life other

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       than that of the person committing the action; or creates a risk to health or safety of the public
       or a section of the public.

II.    Watercraft

       Any bodily injury, property damage, personal injury, advertising injury or medical
       incident arising out of the ownership, entrustment, maintenance, operation, use, loading or
       unloading of any watercraft.
       This exclusion does not apply if such liability is covered by valid and collectible applicable
       underlying insurance listed in the Schedule of Underlying Insurance. However, the
       insurance provided by our Policy will be no broader than the insurance coverage scheduled as
       such.

5.     Definitions

Administrator means any administrator, superintendent, medical director, any department head
(including the head of the medical staff), any member of your formal accreditation, standards review
or equivalent professional board or committee or any staff member.
Advertising Injury means injury arising out of one or more of the following offenses in the course
of your advertising activities.
              (i)     Oral or written publication of material that slanders or libels a person or
                      organization or disparages a person’s or organization’s goods, products or
                      services.
              (ii)    Oral or written publication of material that violates a person’s right of privacy.
              (iii)   Misappropriation of advertising ideas or style of doing business.
              (iv)    Infringement of copyrights, title or slogan.

However, Advertising Injury shall not include:

              (i)     the infringement of registered trade mark, copyright, service mark, or trade
                      name, other than titles or slogans, by use on or in connection with goods and
                      services sold, offered for sale or advertised;
              (ii)    the incorrect description of any goods, services, articles or commodities;
              (iii)   a mistake or incorrect description in advertised price; or
                      the failure of goods, services, your product or your work to conform with
                      advertised quality or performance.

Applicable Underlying Insurance means the primary insurance, self insured retention or
retained limit listed on the Schedule of Underlying Insurance which provides the underlying
amounts for a specific loss, claim or suit. The applicable underlying insurance is determined as
follows:
              (i)     If the primary insurance or self insured retention apply to the loss, claim or
                      suit, the greater of:
                      (a) the limits of liability stated in the policies of primary insurance or self
                           insured retention as listed on the Schedule of Underlying Insurance less

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                           the amount by which any aggregate limit so stated has been reduced solely
                           due to the payment of covered losses, claims or suits plus any other
                           available insurance; or
                       (b) the Underlying Amount as listed on the Declaration page.
               (ii)    If the primary insurance or self insured retention do not apply to the loss,
                       claim or suit, the amount stated as the Retained Limit.

For the purposes of determining the applicable underlying insurance under parts (i) or (ii) of this
definition, the limits of liability in any policy of primary insurance will apply even if the primary
insurer claims any insured failed to comply with any condition of the policy; or the primary
insurer or insured becomes bankrupt or insolvent.
Applicable Underlying Insurance does not include medical payments or medical expenses coverage
that may be provided by primary insurance or self insured retention.
Auto means a land motor vehicle, trailer or semi-trailer designed for travel on public roads, including
any attached machinery or equipment. However, auto does not include mobile equipment.
Bodily Injury means bodily injury, sickness or disease, disability, shock, mental injury or mental
anguish, or death sustained by any person, other than a patient.
Defense costs and expenses means a payment allocated to a specific loss, claim or suit for its
investigation or defense, including but not limited to:
               (i)     attorney fees and all other litigation expenses;
               (ii)    the cost of bonds to appeal a judgment or award in any suit we defend but only
                       for bond amounts within the Limits of Liability available under this policy;
               (iii)   up to $1,000 for the cost of bail bonds required because of accidents or traffic
                       law violations arising out of the use of any vehicle to which the liability for
                       bodily injury or property damage under this policy applies;
               (iv)    the cost of bonds to release attachments, but only for bond amounts within the
                       Limits of Liability available under this policy;
               (v)     costs taxed against any insured in the suit within the Limits of Liability
                       available under this policy;
               (vi)    interest on the full amount of any judgment that accrues after entry of the
                       judgment and before we have paid, offered to pay, or deposited in court the
                       amount of ultimate net loss available for the judgment under this policy.

However, we shall have no obligation to apply for or furnish bonds payable hereunder.
Defense costs and expenses do not include:
               (i)     Salaries and expenses of our employees or any insured’s employees other than
                       that portion of those fees, salaries and expenses of attorneys employed by us
                       allocated to a specific claim or suit; and

               (ii)    Fees and expenses of independent investigators, adjustors, or third party
                       administrators hired by any insured.

Employee(s) means a person whose work is engaged and directed by you, including students and
volunteers. An employee includes seasonal and temporary employees and employees leased or
loaned to you. An employee means members of the clergy and other religious personnel, but only
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while acting within the scope of their duties while at any of your facilities. An independent
contractor is not an employee. Solely with respect to medical incidents, an employee does not
include interns, fellows, residents, physicians, surgeons, dentists, nurse midwives, podiatrists or
chiropractors or osteopaths.
Executive officer means a person holding any of the officer positions, or their functional equivalent,
created by your charter, constitution, by-laws or any similar governing document.
Extended Reporting Period means any policy provision which provides any extended time period
for any insured to report losses, claims or suits by any insured’s written request, with or without
additional premium charge.
Good Samaritan Acts means those services performed by you in rendering, or failing to render,
without remuneration, emergency treatment at the scene of an accident, medical crisis or disaster.
Impaired Property means tangible property, other than any insured’s product or any insured’s
work, that cannot be used or is less useful because:
              (i)     it incorporates any insured’s product or any insured’s work that is known or
                      thought to be defective, deficient, inadequate or dangerous; or
              (ii)    any insured has failed to fulfill the terms of a contract or agreement;

                      if such property can be restored to use by:
                      (a) the repair, replacement, adjustment or removal of any insured’s product
                          or any insured’s work; or
                      (b) any insured fulfilling the terms of the contract or agreement.

Insured means:
The Named Insured as designated in Item 1. of the Declarations. If you are designated in the
Declarations of this policy as:
              (i)     An individual, you and your spouse are insureds, but only as respects the
                      conduct of a business of which you are sole owner.
              (ii)    A partnership or joint venture in which you have majority ownership, your and
                      your members, your partners and their spouses, but only as respects the
                      conduct of your business. This policy does not apply to your partnerships or
                      joint ventures or their partners or members thereof which are not designated in
                      the Declarations of the policy as Named Insureds.
              (iii)   An organization, other than a partnership or joint venture, you and your
                      executive officers, directors and trustees but only with respect to the conduct
                      of your business. Your stockholders and members are also insureds, but only
                      with respect to their liability as stockholders or members.
              (iv)    A limited liability company, you and your members, but only with respect to
                      the conduct of your business. Your managers are also insureds but only with
                      respect to their duties as your managers. No person or organization is an
                      insured with respect to the conduct of any current or past limited liability
                      company that is not shown as a Named Insured in the Declarations.
              (v)     A trust is an insured. Your trustees are also insureds, but only with respect to
                      their duties as trustees.


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Insured also means:
              (vi)    Your employees while acting within the scope of their duties as such and while
                      performing Good Samaritan Acts.
              (vi)    Your administrator but solely as respects their administrative duties
                      performed for and on behalf of you.
              (vii)   Any organization you newly acquire or form, other than a partnership, joint
                      venture or limited liability company, in which you maintain ownership or
                      majority interest, will qualify as an insured. However:
                      (a) Coverage under this provision is afforded only until the 90th day after you
                          acquire or form the organization or the end of the policy period, whichever
                          is earlier;
                      (b) There is no coverage for bodily injury, property damage, or medical
                          incident occurring prior to the date of acquisition or formation of the
                          organization unless we agree, in writing, to a different retroactive date; and
                      (c) There is no coverage for personal injury or advertising injury arising out
                          of any offense committed before you acquired or formed the organization.

                     For coverage to apply to the newly acquired or formed organization for more
                     than ninety (90) days, you must submit an underwriting application to us; the
                     application must be approved by us; you must pay the additional premium, if
                     any; and agree to any amendment to the provisions of this policy required by
                     us relating to such newly acquired or formed organization.
              (viii) Any persons or organizations who are insureds or additional insureds on the
                     scheduled applicable underlying insurance but not for broader coverage than
                     is available to them under the scheduled applicable underlying insurance.
              (ix)   Any person (other than an employee), or organization while acting as your real
                     estate manager.

Insured Contract means:
              (i)     a lease of premises;
              (ii)    a sidetrack agreement;
              (iii)   any easement or license agreement, except in connection with construction or
                      demolition operations on or within 50 feet of a railroad;
              (iv)    any obligation, as required by ordinance, to indemnify a municipality except in
                      connection with work for a municipality;
              (v)     an elevator maintenance agreement; or
              (vi)    that part of any other contract or agreement pertaining to any insured’s
                      business under which any insured assumes the tort liability of another to pay
                      damages because of bodily injury, property damage, personal injury,
                      advertising injury or medical incident. Tort liability means a liability that
                      would be imposed by law in the absence of any contract or agreement.

An insured contract does not include that part of any contract or agreement:


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                       (a) that indemnifies an architect, engineer or surveyor for injury or damage
                           arising out of:

                           (1) preparing, approving or failing to prepare or approve maps, drawings,
                               opinions, reports, surveys, change orders, designs or specifications; or
                           (2) Giving directions or instructions, or failing to give them, if that is the
                               primary cause of the bodily injury, property damage, personal
                               injury, advertising injury or medical incident;
                       (b) under which any insured, if an architect, engineer or surveyor, assumes
                           liability for injury or damage arising out of insured’s rendering or failing
                           to render professional services, including those listed in part (a) of this
                           definition, and supervisory, inspection or engineering services; or
                       (c) that indemnifies any person or organization for damage by fire to premises
                           rented or loaned to any insured.

Insured’s product means:
             (i)    Any goods or products, other than real property, that are manufactured, sold,
                    handled, distributed or disposed of by:
                    (a) any insured;
                    (b) others trading under any insured’s name; or
                    (c) a person or organization whose business or assets any insured has
                        acquired.
             (ii)   Containers (other than vehicles), materials, parts or equipment furnished in
                    connection with such goods or products.

Insured’s product includes warranties or representations made at any time with respect to the
fitness, quality, durability or performance of any of the items included in parts (i) and (ii) of this
definition.
Insured’s product does not include vending machines or other property rented to or located for the
use of others but not sold.

Insured’s work means:
             (i)   work or operations performed by any insured or on any insured’s behalf;
             (ii)  any materials, parts or equipment furnished in connection with such work or
                   operations.

Insured’s work includes warranties or representations made at any time with respect to the fitness,
quality, durability or performance of any of the items included in parts (i) and (ii) of this definition.
Loading or Unloading means the handling of property:
               (i)     After it is moved from the place where it is accepted for movement into or onto
                       an aircraft, watercraft or auto;
               (ii)    While it is in or on an aircraft, watercraft or auto;
               (iii)   While it is being moved from an aircraft, watercraft or auto to the place where
                       it is finally delivered;



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But loading and unloading does not include the movement of property by means of a mechanical
device, other than a hand truck, that is not attached to the aircraft, watercraft or auto.
Medical incident means the rendering or failure to render professional healthcare services. Any
such act or omission, together with all related acts or omissions in the furnishing of or failing to
furnish professional healthcare services to any one person shall be considered as one medical
incident.

Mobile Equipment means:
              (i)     A land vehicle, including any attached machinery or equipment, whether or not
                      self-propelled:
                      (a) not subject to motor vehicle registration;
                      (b) maintained for use exclusively on premises owned by or rented to any
                          insured, including the ways immediately adjoining;
                      (c) designed for use principally off public roads; or
                      (d) maintained primarily to provide mobility to permanently mounted power
                          cranes shovels, loaders, diggers, drills, road construction or resurfacing
                          equipment.
              (ii)    Vehicles not described in part (i) of this definition that are not self-propelled
                      and are maintained primarily to provide mobility to permanently attached
                      equipment of the following types:

                             Air compressors, pumps and generators, including spraying, molding,
                             building cleaning, geographical exploration, lighting, well servicing
                             equipment and cherry pickers and similar devices to raise and lower
                             workers.
Named Insured means the Named Insured stated in Item 1 of the Declarations.
Occurrence means:
              (i)     For bodily injury or property damage, an accident, including continuous or
                      repeated exposure to substantially the same general harmful conditions.
              (ii)    For personal injury or advertising injury, injuries or damages arising from a
                      covered offense(s), as defined in the personal injury and advertising injury
                      definitions.

Patient(s) means a person receiving professional healthcare services from the insured whether
before, during or after registration for such services.
Personal Injury means injury other than bodily injury arising out of one or more of the following
offenses:
              (i)     False arrest, false imprisonment, wrongful eviction, wrongful entry, wrongful
                      detention, or malicious prosecution.
              (ii)    Oral or written publication of material that slanders or libels a person or
                      organization, disparages their goods, products or services, or violates their
                      right of privacy.



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Primary Insurance means the policy(s) of insurance issued by a primary insurer, listed in the
Schedule of Underlying Insurance, including renewal or replacement of such coverage which is not
more restrictive than those listed in the aforementioned Schedule of Underlying Insurance.
Primary Insurer means any organization providing primary insurance.

Professional healthcare services means:
              (i)    Medical, surgical, dental, x-ray, nursing, mental or other similar professional
                     health care services or treatments.
              (ii)   Providing or dispensing of food, beverages, medications or medical supplies or
                     appliances in connection with services described in Paragraph (i) above.
              (iii) Handling or treatment of dead bodies, including autopsies, organ donation or
                     harvesting, or other procedures.
              (iv)   The work of your formal accreditation, standards review or equivalent
                     professional board or committee, done for any insured while:
                     (a) Evaluating the professional qualifications or clinical performance of any
                         provider of professional healthcare services; or
                     (b) Promoting and maintaining the quality of professional healthcare services
                         being provided.
              (v)    The execution, or failure to execute, a decision or directive of your formal
                     accreditation, standards review or equivalent professional board or committee.
              (vi)   Education and training conducted by you for your employees which results in
                     injury caused or alleged to have been caused by a deficiency or defect in the
                     education or training.
              (vii) Research and development conducted by you which results in injury caused or
                     alleged to have been caused by a deficiency or defect in the conduct or the
                     reported results of such research or development.
              (viii) Transportation (including, but not limited to, transfer into and out of vehicles)
                     of patients.

Property Damage means physical injury to tangible property, including all resulting loss of use of
that property; or loss of use of tangible property that is not physically injured.
Retained Limit means the sum stated in the Declarations as such. This is the minimum amount for
which the insured is liable on each and every loss, claim or suit according to the terms of the
applicable underlying insurance provision of this Policy.
Self Insured Retention means the amounts listed in the Schedule of Underlying Insurance as such,
that you have agreed to pay for all bodily injury, property damage, personal and advertising
injury or medical incident, as applicable, for which you are liable. The Limits of Liability for the
self insured retention are outlined in the Schedule of Underlying Insurance.
Suit means a civil proceeding in which damages secondary to an occurrence or medical incident are
alleged. A suit includes, but is not limited to, an arbitration proceeding or other alternative dispute
resolution in which damages are claimed.
Territory means anywhere in the world, provided claim is reported to us and suit is brought within
the United States of America, its territories or possessions, Puerto Rico or Canada.



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Ultimate Net Loss means the sum actually paid or payable, after deduction of all recoveries and
salvage, in the settlement or satisfaction of losses, claims or suits for which any insured is liable
either by adjudication or settlement including defense costs and expenses.
Underlying amounts means any limit of liability which is available for payment of all bodily
injury, property damage, personal injury, advertising injury or medical incident losses arising
out of any one coverage, combination of coverages, or per policy, provided by the primary
insurance, self insured retention, or retained limit. Underlying amounts does not include limits
available from the primary insurance or self insured retention for medical payments or medical
expenses.

III.   CONDITIONS

       A.      Action Against Us
               (i)    No person or organization has a right under this Policy:
                      (a)    to join us as a party or otherwise bring us into a suit asking for damages
                             from any insured; or
                      (b)    to bring suit under our policy; unless all of our policy terms have been
                             fully complied with.

       B.      Appeals

       We can appeal any judgment brought against any insured if:
               (i)     the judgment is in excess of the underlying amounts; and
               (ii)    neither any insured nor the primary insurer elects to appeal.

       If we appeal we will pay the costs of the appeal plus any incidental interest, but in no event
       will we pay out more than is provided by our applicable Limit of Liability plus the costs and
       interest of the appeal.

       C.      Inspection of Records

       Upon request, you shall make available to us or our duly authorized representatives at all
       reasonable times during and after the Commencement and Termination Dates of the Policy
       and at the insured’s head office or at any other place it may be located all information
       regardless of the media in which such information and records of the insured are stored,
       copies of the books, accounts, or other documents containing information relating to the
       business insured under the Policy.

       Our inspection or audit of such records shall not relieve you or your agents from any
       duties hereunder to report claims or potential claims to us. Our inspection or audit of such
       records shall not constitute notice or acceptance of notice to us as provided in this Policy.
       Our inspection or audit of such records shall not constitute acceptance or confirmation of
       coverage with respect to the Policy.

      We shall be permitted but not obligated to inspect your or your agents’ property, operations,
      books, records and files at any time. Neither our right to make inspections not the
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       making thereof of a report thereon shall constitute an undertaking on behalf of or for the
       benefit of you or others to determine or warrant that such property or operations are safe or
       are in compliance with any statute, law, ordinance, rule or regulation.

       D.     Commencement and Termination
       The Commencement and Termination Dates of the Policy shall be as specified in the
       Declarations of this Policy, at the location(s) specified in the Policy.

       E.       Insolvency/Bankruptcy
       In the event of your insolvency, the insurance provided by this Policy shall be payable by us
       directly to you or to your liquidator, receiver, or statutory successor on the basis of your
       liability without diminution because of your insolvency, or because your liquidator, receiver,
       conservator or statutory successor shall give written notice of the pendency of each claim
       against you within a reasonable time after such claim is filed in the insolvency proceeding.
       During the pendency of such claim, we may, at our own expense, investigate such claims and
       interpose in the proceedings where such claim is to be adjudicated, any defense or defenses
       which it may deem available to you, your liquidator, receiver or statutory successor.
       Subject to court approval, any expense thus incurred by us shall be chargeable against you as
       part of the expense of liquidation to the extent of such proportionate share of the
       benefit as shall accrue to you solely as a result of the defense undertaken by us.

       The insolvency, bankruptcy, receivership or refusal or inability of you to pay claims will not
       increase the amount we would be obligated to pay in the absence of such insolvency,
       bankruptcy, receivership or refusal. We will not be obligated to assume the responsibility of
       any Named Insured, insured, or primary insurer in connection with the applicable
       underlying insurance.

       G.     Cancellation

       Either party may cancel this Policy by giving sixty (60) days written notice to the other party
       and mailing such notice to the address appearing in the Declarations. The effective date of the
       cancellation will be the date the written notice is received by us or the date specified in the
       written notice, whichever is later. However, in the event you fail to pay a premium when due,
       we may cancel this Policy effective upon fifteen (15) days’ written notice, or such longer
       period as may be required by law, by providing notice to you in the manner set forth in the
       preceding sentence.
       Furthermore, either party may cancel the Policy at any time by giving the other party fifteen
       (15) days prior written notice sent to the address appearing in the Declarations in the event
       that the other party
              •       becomes insolvent or is unable to pay its debts, or
              •       transfers control by change in ownership or otherwise, or
              •       fails seriously to comply with the terms and conditions of the agreement
       Written notice shall be deemed to include facsimile.
      In the event of this Policy being terminated before the expiry of the duration period agreed by
      the parties, we shall return the premium
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              •      on a pro-rata basis less the amount of any commission, ceding or broker, and
                     other deductions if it is the company that cancels, or
      In the event of this Agreement being terminated at your request, we shall return the premium
              •      on a pro-rata basis less 10% of the pro-rata unearned premium subject to the
                     Minimum Earned Premium as specified in the Declarations.
      Both amounts shall be calculated by reference to the premium due hereunder.
      Payment or tender of any unearned premium by us shall not be a condition precedent to the
      effectiveness of cancellation but such payment shall be made as soon as practicable.

      H.      Changes

      This Policy contains all the agreements between any and all insureds and us concerning this
      insurance. You are authorized to make changes in the terms of this Policy with our consent.
      This Policy’s terms can be amended or waived only by endorsement issued by us and made
      part of this policy.

      I.      Claims Handling, Claims Cooperation and Consent to Settlement

      You shall properly and thoroughly investigate any claim or loss and, to the extent required by
      the Policy, defend and/or control any claim or loss that affects this Policy.
      It is a condition precedent to our liability that you shall fully cooperate with, and shall actively
      take steps to involve us or any person designated by us in the adjustment and settlement of the
      claim, as well as permit us at our own expense to associate with you in the investigation,
      defense, and/or control of any claim or suit that may affect this Policy. It is further a
      condition precedent to our liability that you and/or any other insured comply with rules of
      court, timely respond to discovery requests and other orders or rulings regarding a claim or
      suit relevant to this Policy.
      If we recommend acceptance of a settlement demand that is excess of underlying amounts
      set out in the Schedule of Underlying Insurance, and you unreasonably refuse to accept said
      demand, our Limit of Liability shall be the lesser of our Limit of Liability as set out in the
      Declarations or the difference between the settlement amount demanded and the underlying
      amounts.
      It is a condition precedent to our liability for any settlement or payment in satisfaction of
      awards or judgments that you may make with respect to the Policy that you first obtain our
      advance written consent to any offer of settlement which would require contribution from us
      pursuant to the terms of this Policy.
      You agree that you owe us the same duty of good faith claims handling and duty to settle that
      a primary insurer would owe to an excess insurer regardless of whether you have a captive
      or self insured retention.

      J.      Extended Reporting Period

           (i) Automatic Extended Reporting Period
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              We will provide you with an automatic extended reporting period during which
              claims taking place subsequent to the retroactive date and prior to the expiration or
              termination date of this Policy and otherwise covered, may be reported. This period
              expires thirty (30) days from the date of expiration or termination.

           (ii) Optional Extended Reporting Period

              We agree to offer you the option to purchase an extended reporting period
              endorsement for an additional premium to be computed in accordance with our rules,
              rates and actuarial analysis on the effective date of the endorsement. The endorsement
              will provide an extended reporting period only for claims first known to the insured
              and first made against you during the extended reporting period and which medical
              incident or occurrence takes place subsequent to the retroactive date set forth in the
              Declarations page and prior to the expiration or termination date of this Policy and
              otherwise covered hereunder. You do not have the right to purchase such
              endorsement if we cancel for non-payment of premium or noncompliance with the
              policy’s conditions and terms.
              The right to purchase the extended reporting period must be exercised by you by
              written notice to us not later than thirty (30) days after the expiration or termination
              date of this Policy.
              Our Aggregate Limit, as stated in Item 3 of the Declarations will not be reinstated for
              claims under this endorsement.
              The extended reporting period does not change the scope of coverage provided
              under this Policy except as described above.
              The insurance provided under the extended reporting period endorsement is excess
              over any other valid and collectible insurance that begins or continues in effect,
              whether the other insurance applies on a primary, excess, contingent, or any other
              basis.
              Such extended reported period as set for in 1 or 2 above, shall not apply to claims
              that are covered under any subsequent insurance you purchase, or that would be
              covered but for exhaustion of the limits of liability applicable to such claims.

      K.       Fraud and Misrepresentation

      This Policy will be void if you mislead us, misrepresent yourself or defraud us, or attempt to
      mislead us, attempt to misrepresent yourself or attempt to defraud us on matters concerning
      this insurance. Your unintentional errors or omissions will not affect your rights under this
      policy.

      L.      Government Access to Records

      This endorsement changes your Policy to comply with the requirement of Section 952 of the
      Omnibus Reconciliation Act of 1980. Upon written request, we will allow the Secretary of

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      Health and Human Services and the Comptroller General access to the Policy and necessary
      books, documents and records to verify the cost of the Policy, to the extent required by law.
      Access will also be allowed to subcontractors between us and any related organization of our
      and to its books, documents and records. Such access will be provided up to four years after
      the services furnished under this Policy end.

      M.     Maintenance of Underlying Insurance

             (i)     For as long as our Policy is in effect, the primary insurance or self insured
                     retention must continuously:
                     (a) provide no less coverage than written on the Schedule of Underlying
                          Insurance at inception of our Policy; and
                     (b) afford no lower Limit of Liability than those originally written on the
                          Schedule of Underlying Insurance, except for reduction or exhaustion of
                          underlying amounts solely due to payment of covered losses, claims or
                          suits.
             (ii)    You must notify us within 30 days if:
                     (a) there are any changes in the primary insurance or self insured retention;
                     (b) there are any changes in the underlying amounts which decrease them
                          from that indicated on the Schedule of Underlying Insurance; or
                     (c) primary insurance coverage, replacements or renewals thereof, are
                          changed resulting in more restrictive coverage than shown in the Schedule
                          of Underlying Insurance.
             (iii)   If the underlying amounts listed on the Schedule of Underlying Insurance:
                     (a) Are not maintained;
                     (b) Have limits that are less than those indicated on the Schedule of
                          Underlying Insurance; or
                     (c) are unavailable or uncollectible due to bankruptcy, insolvency, liquidation
                          of a primary insurer, or your failure to comply with the terms and
                          conditions of the primary insurance;

      our coverage will apply in the same manner as if the primary insurance or self insured
      retention were still in effect, maintained and collectible.
      We may at our discretion agree to follow such changes by written endorsement attached
      hereto and upon payment by you of any additional premium relating to such changes.
      Further, such change in coverage is conditioned upon your payment, when due, of any such
      additional premium required by us relating to such changes.

      N.     Notice of Loss/ Loss Reporting

      It is a condition precedent to our obligations under this Policy that you shall give written
      notice as soon as practicable, but in no event later than thirty (30) days after the termination
      date of the Policy as set forth in the Declaration of any claim or suit that:
             (i)     is likely to involve this Policy; or



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               (ii)    involves injury to a patient or potential claimant substantially affecting or
                       limiting the ability to independently care for him or herself or manage the daily
                       affairs of life, including but not limited to

                       (a) loss of sensory capacity (sight or hearing)
                       (b) amputation
                       (c) brain damage or brain injury
                       (d) birth injury to a child
                       (e) paralysis or serious neurological impairment
                       (f) burns
                       (g) serious cosmetic deformity
                       (h) unexpected death; or

               (iii)   brings the totals of all payments and reserves by you to a level of 25 percent or
                       more of the entire underlying amounts; or
               (iv)    involves multi-claimant (including class action) or multi-district litigation
                       against any insured; or
               (v)     involves a demand from a Claimant which is 25 percent or more of the
                       underlying amounts.

       Occurrences, medical incidents, claims and/or suits that meet this criteria shall be reported
       individually and not by bordereau or loss run.
       Furthermore, you shall immediately advise us of any subsequent material developments in
       connection with any claim or loss reported.
       Such written notice shall identify any involved insured and contain reasonably obtainable
       information with respect to the time, place and circumstances of the injury, including names
       and addresses of the injured and of available witnesses and the extent and type of claim
       anticipated.


Notice shall be sent to: Claims Department of Endurance Specialty Insurance Marketing Corporation, 725 S.
Figueroa St., Suite 2100, Los Angeles, CA 90017, or Telephone: (213) 270-7017 or Fax: (213) 270-7800 or E-
Mail addressed to: Eclaims@enhinsurance.com,



       O.      Other Insurance

               If other insurance:
               (i)     is available to pay losses, claims or suits;
               (ii)    applies due to provisions of an Extended Reporting Period; or
               (iii)   applies on a retroactive basis, or if primary insurance applies on a retroactive
                       basis
               (iv)    our policy applies in excess of and does not contribute with such insurance.

       If you have purchased any other umbrella policy(s) from us covering the same operations and
       exposures, the policy with the greater limit of liability will apply to any losses, claims or

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      suits. We will not be obligated to investigate or defend nor will we be liable for payment of
      losses, claims, suits or defense costs and expenses under the provisions of the policy(s) with
      lower limits. If more than one policy applies with equal limits you can choose the policy to
      apply, but we will pay only under the terms and conditions of that one chosen policy.

      P.     Our Right to Recover Payment

      If we make a payment under this insurance, any and all insureds will assist us and the
      primary insurer in recovering what we paid by using any and all insured’s rights of
      recovery. Reimbursement will be made in the following order:
             (i)     First, to any interest (including any insured) who has paid any amount in
                     excess of the limits of this insurance;
             (ii)    Next, to us; and
             (iii)   Then to any interest (including any insured and the primary insurer) as are
                     entitled to claim the remainder, if any.

      A different order may apply if agreed upon by all interests. Expenses incurred in the process
      of recovery will be divided among all interests according to the ratio of their respective
      recoveries.

      Q.     Payment of Loss

             (i)     We are obligated to pay under this Policy only after:
                     (a) The primary insurer(s) has paid their limit of liability and you have paid
                         the Self Insured Retention or Retained Limit, as applicable;
                     (b) the primary insurer(s) and all insureds have complied with their
                         obligations to defend and pay defense costs and expenses; and
                     (c) final judgment is rendered against any insured after trial, or written
                         agreement is reached by any insured, claimants, primary insurer(s) and
                         us.
             (ii)    Furthermore:
                     (a) Any person who secures any judgment or written agreement as noted in
                         part (i) (c) of this Condition, shall make a definite claim for loss within a
                         reasonable time after final determination of the judgment or agreement.
                         Subsequent payments may be made on the same claim or loss payable by
                         us within 30 days after we verify the claim or loss.
                     (b) Bankruptcy or insolvency of any insured shall not relieve us of our
                         obligations under the terms of this Policy.
                     (c) You will promptly reimburse us for any amount within the Retained Limit
                         paid by us on behalf of any insured.



R.    Premium



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      You shall be responsible for payment of all premiums and will be the payee of any return
      premium.
      The premium can be changed if the policy terms and conditions are changed such as by:
                     (a) adding additional insureds;
                     (b) changing limits of liability;
                     (c) adding or changing applicable underlying insurance; or
                     (d) extending the policy period or requesting an Extended Reporting Period
                         endorsement.

      S.     Representations

      By accepting this Policy you agree that:

             (i)     the information shown in the Declarations and the Schedule of Underlying
                     Insurance of our Policy is accurate and complete;
             (ii)    the information is based on representations and statements made by you in
                     your submission to us for this coverage; and
             (iii)   we have issued and continue our Policy in reliance upon those representations
                     and statements.

      In the event of an unintentional error and omission, we reserve the right to adjust the policy
      premium, terms and conditions to reflect this material change.


      T.     Transfer of Any Insured’s Rights and Duties

      Any insured’s rights and duties under this insurance may not be transferred without our
      written consent, except if that insured dies;
             (i)     the deceased insured’s rights and duties will be transferred to their legal
                     representative, but only while acting within the scope of duties as their legal
                     representative; or
             (ii)    the deceased insured’s rights and duties will be transferred to anyone having
                     temporary custody of their property until their legal representative has been
                     appointed.

      U.     Unimpaired Aggregate

      It is agreed that should any of the policies listed on the Schedule of Underlying Insurance,
      including renewals or replacements thereof, be nonconcurrent with the Policy Period of this
      Policy, the limits scheduled shall be considered unimpaired as of the inception date of our
      Policy.

      V.     When a Claim is Considered to be First Made

      If the coverage is claims made:

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      A claim for bodily injury, property damage, personal injury, advertising injury or
      medical incident shall be considered as being first made at the earlier of the following times:
             (i)     when you first became aware and give written notice to us during our Policy
                     Period or any extended reporting period, that a loss, claim or suit has been
                     made; or
             (ii)    when you first became aware and give written notice to us during our Policy
                     Period or any extended reporting period, of specific circumstances involving
                     a particular person which may result in a loss, claim or suit.

      W.     Loss Bordereau

      At the end of each quarterly period, with the first quarterly period to commence on the first
      day of the Policy Period, you shall submit a Loss Bordereau listing all other specific
      circumstances, potential claims, incidents or events first known to any insured during the
      policy period. The Loss Bordereau shall also include all existing medical incidents, claims,
      or suits first made and first reported to us in writing during the Policy Period as required in N.
      Notice of Loss/Loss Reporting.

      The Loss Bordereau must be identified specifically by you as the final listing of all medical
      incidents, claims, suits or circumstances for that particular Policy Period.

      The Loss Bordereau should not include inquiries or claims which do not fall within the
      coverage provided under this Policy or claims reported to a prior carrier.

      Notice given in a Loss Bordereau does not relieve you from reporting medical incidents,
      claims or suits on an individual basis that fall within the criteria of Condition N. Notice of
      Loss/Loss Reporting. Notice of Loss/Loss Reporting is a condition precedent to your duties
      hereunder.

      Such Loss Bordereau shall contain a description of the claim and injury, the date of loss, the
      date the claim or event was first reported to you and the name of any involved Insured.
      Acceptance of the Loss Bordereau does not mean we agree that the claims listed are covered
      by this Policy. All medical incidents, claims, suits or circumstances reported are subject to
      the terms, conditions, declarations, insuring agreements, definitions and exclusions of this
      Policy to affect coverage in respect to any medical incident, claim, suit or circumstance.

      No other loss run, bordereau, or listing shall be recognized as a final listing of all medical
      incidents, claims, suits or circumstances.




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Date of Issuance:

IN WITNESS WHEREOF, the Company certifies that the above Policy is in effect and has caused
this Agreement to be executed by its duly authorized representatives:

In St. Louis, Missouri, this 26th day of May, 2016.


Endurance American Specialty Insurance Company




____________________________________
Authorized Signature


Endurance




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                Endurance American Specialty Insurance Company
                                             750 3rd Avenue
                                           New York, NY 10017




IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President and
Senior Vice President and countersigned where required by law on the Declarations page by its duly
authorized representative.




         Senior Vice President                                    President




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                FORMS AND ENDORSEMENT SCHEDULE
It is hereby understood and agreed the following forms and endorsements are attached to and are a part of
this policy:

 Form Number                                           Form Name

 SN 9048 0914 FL         Surplus Lines Notice - Florida

 HLC 0001 1208           Healthcare Umbrella Declaration Page

 HLC 0201 1208           Healthcare Umbrella Liability Policy

 IL 1008 0114            Signature Page

 HLC 0101 0606           Forms and Endorsement Schedule

 HLC 0102 0606           Schedule of Underlying Policies

 HLC 1305 1208           Employee Definition Endorsement – Physicians and Surgeons


 HLC 0103 1208           Named Insured Extension Endorsement

 HLC 1301 0512           Service of Suit Endorsement

 PN-0001-0407            OFAC
                         Disclosure Pursuant To Terrorism Risk Insurance Act – Rejection of
 HLC 1311 0108           Offer
                         General Change Endorsement #1 – Underlying Limits – Self Insured
 HLC 1001 0606           Retention Defense Costs and Expenses Erode SIR
                         General Change Endorsement #2 – Cancellation Clause Endorsement
 HLC 1001 0606           (Credit Rating Changes)
                         General Change Endorsement #3 – Amendment – Renewal Agreement
 HLC 1001 0606           Endorsement
                         General Change Endorsement #4 – Amendment of Limits of Liability –
 HLC 1001 0606           Separate Aggregate Towers
                         General Change Endorsement #5 – Supplemental Reimbursement
 HLC 1001 0606           Coverage(s) Endorsement
                         General Change Endorsement #6 – Umbrella Claims Made General
 HLC 1001 0606           Liability Endorsement
                         General Change Endorsement #7 – Employee Benefit Liability
 HLC 1001 0606           Endorsement – Claims-Made Coverage




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                     SCHEDULE OF UNDERLYING POLICIES
      Carrier, Policy Number
            and Period                   Type of Coverage                    Limits of Insurance
Tower #1
Carrier: Self Insured Retention        Hospital Professional         $ 2,000,000 Each Medical Incident or
Policy Period: April 15, 2016        Liability including Patient                    Occurrence
              to April 15, 2017       and Non-Patient General        $ 2,000,000 Annual Aggregate
                                        Liability, Physicians        Excess of:
                                    Professional Liability as well   $ 3,000,000 Each Medical Incident or
                                       as Employee Benefits                         Occurrence
                                              Liability              $ 9,000,000 Annual Aggregate
                                                                     (Inclusive of:
                                                                     $1,000,000/$3,000,000 per physician)

Tower #2
Carrier: Homeland Insurance          Professional Liability and      $ 1,000,000 Each Medical Incident or
         Company of New York         General Liability – Baptist                 Occurrence
Policy No.: MFL-004640-0415          Medical Park Ambulatory         $ 3,000,000 Annual Aggregate
Policy Period: April 15, 2016          Surgery Center, LLC
             to April 15, 2017

Carrier: Arch Specialty Insurance     Professional Liability and     $ 2,000,000 Each Medical Incident or
         Company                     General Liability - Andrews                 Occurrence
Policy No.: FLP0054437-03           Institute Ambulatory Surgery     $ 4,000,000 Annual Aggregate
Policy Period: April 15, 2016                Center, LLC
             to April 15, 2017

Carrier: Arch Specialty Insurance   Employee Benefits Liability -    $ 1,000,000 Each Employee
         Company                        Andrews Institute            $ 3,000,000 Aggregate
Policy No.: FLP0054437-03           Ambulatory Surgery Center,
Policy Period: April 15, 2016                 LLC
             to April 15, 2017

Carrier: Hartford Fire Insurance    Automobile Liability – BHC,      $ 2,000,000 Combined Single Limit
         Company                          Lakeview etal
Policy Number: 21 CSE S36501
Policy Period: April 15, 2016
             to April 15, 2017

Carrier: Safety National Casualty            Employers               $ 2,000,000 Each Accident
         Corporation                Liability – BHC (Excluding       $ 2,000,000 Disease – Policy Limit
Policy Number: SP 4054158             Lakeview and Atmore)           $ 2,000,000 Disease – Each Employee
Policy Period: January 1, 2016
             to January 1, 2017                                      Excess of:
                                                                     $500,000 SIR Per Occurrence




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Carrier: Hartford Fire Insurance        Employers Liability –       $ 1,000,000 Each Accident
         Company                         Lakeview Center            $ 1,000,000 Disease – Policy Limit
Policy Number: 21 WN S36500                                         $ 1,000,000 Disease – Each Employee
Policy Period: April 15, 2016
             to April 15, 2017

Carrier: Federal Insurance Company         Helipad Liability        $10,000,000 Each Occurrence
Policy Number: 9957-9764-07
Policy Period: April 15, 2016
            to April 15, 2017

Carrier: Federal Insurance Company   Non-Owned Aircraft Liability   $10,000,000 Each Occurrence
Policy Number: 9957-9762-07
Policy Period: April 15, 2016
            to April 15, 2017

Carrier: HealthCare Workers             Employers Liability –       $ 1,000,000 Each Accident
         Compensation Self-            Langhorne Cardiology         $ 1,000,000 Disease – Policy Limit
         Insurance Fund                Consultants, Inc. DBA        $ 1,000,000 Disease – Each Employee
Policy Number: 000341/004              Cardiology Consultants
Policy Period: January 01, 2016               Brewton
             to January 01, 2017




Endurance American Specialty Insurance Company                                           HLC 0102 0606
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             EMPLOYEE DEFINITION ENDORSEMENT
                 PHYSICIANS AND SURGEONS

                 THIS ENDORSEMENT CHANGES THE POLICY.
                        PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

HEALTHCARE UMBRELLA LIABILITY POLICY (HLC 0201 1208)


Section II, General Policy Provisions, 5. Definitions, is amended as follows:

The definition of employee is amended to include the following:

       (i)     any licensed physician, surgeon, dentist, nurse midwife, podiatrist or
               chiropractor, acting as such, who is an employee of the insured under a
               written employment contract or whose status as an employee can be
               verified by other documents existing at the time of rendering, or failing to
               render professional healthcare services at the direction of the insured
               while acting within the scope of their duties;


All other terms and conditions of this policy remain unchanged.




Endurance American Specialty Insurance Company                             HLC 1305 1208
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          NAMED INSURED EXTENSION ENDORSEMENT
                      THIS ENDORSEMENT CHANGES THE POLICY.
                             PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the policy:

            HEALTHCARE UMBRELLA LIABILITY POLICY (HLC 0201 1208)

The Named Insured as shown in Item 1. of the Declarations and the Retroactive Date as
shown in Item 5. of the Declarations are amended to include the following:

               Named Insured                          Professional         General
                                                        Liability          Liability    Ending Date
                                                    Retroactive Date      Retroactive   (n/a if blank)
                                                                             Date
Baptist Health Care Corporation                         01/01/86           04/15/02
Baptist Hospital, Inc.                                  01/01/86           04/15/02
Gulf Breeze Hospital, Inc.                              01/01/86           04/15/02       04/01/95
Baptist Hospital, Inc. d/b/a Gulf Breeze                03/22/95           04/15/02
Hospital
Baptist Health Affiliates, Inc.                         01/01/86           04/15/02       02/13/01
d/b/a Jay Hospital
Baptist Health Affiliates, Inc.                         01/01/86           04/15/02       02/13/01
name change to Jay Hospital, Inc.
Jay Hospital, Inc.                                       02/13/01          04/15/02
Baptist Manor, Inc.                                      07/05/00          04/15/02      11/30/13
                                                   For primary coverage                 Acquired by
                                                         01/05/00                         GCHC
                                                   For excess coverage
Baptist Health Care Foundation, Inc.                    01/01/86           04/15/02
Baptist Health Ventures, Inc.                           01/01/86           04/15/02
Baptist Leadership Group, LLC                           10/01/09           10/01/09       09/10/13
Baptist Hospital, Inc. d/b/a Baptist Life Flight        02/02/06           02/02/06
Baptist Physician Associates, LLC                       02/17/04           02/17/04
Baptist Medical Group, LLC                              05/04/09           05/04/09
Baptist Medical Group-Ob-Gyn, LLC (Tax ID               10/01/10           10/01/10       09/27/13
Transitioned To Baptist Medical Group)
Baptist Medical Group - Orthopedic Practice,            09/11/09           09/11/09
LLC
Baptist Physician Group, LLC                            10/12/01           04/15/02
Baptist Physician Enterprise, LLC (Tax ID               05/27/09           05/27/09       09/27/13
Transitioned to Baptist Medical Group)



Endurance American Specialty Insurance Company                                  HLC 0103 1208
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               Named Insured                        Professional        General
                                                      Liability         Liability     Ending Date
                                                  Retroactive Date     Retroactive    (n/a if blank)
                                                                          Date
Baptist Physician Partners, LLC (formerly             06/13/07          06/13/07        09/27/13
Baptist Pace Practice, LLC) (Tax ID
Transitioned to Baptist Medical Group)
Baptist Hospital North Family Practice, LLC           07/11/08          07/11/08
Baptist Medical Park Surgery Center, LLC              04/03/98          04/15/02
                                                 For Excess Coverage
Baptist Urgent Care, Inc. d/b/a Baptist Walk          01/01/02          04/15/02        10/31/13
In Care
Baptist Urgent Care, LLC (moved from                  11/01/13          11/01/13
Baptist Health Ventures to Baptist Health)
Medical Professional Agency, Inc. d/b/a               01/01/02          04/15/02
Baptist Business Health Solutions
Medical Professional Agency, Inc. d/b/a               01/01/02          04/15/02        02/01/14
Senior Health (Tax ID Transitioned To Baptist
Medical Group)
Medical Professional Agency, Inc. d/b/a               01/01/13          01/01/13
Baptist Wellness Works
Andrews Institute, LLC                                09/17/07          09/17/07        09/24/10
Andrews Institute Medical Park, LLC                   11/10/05          11/10/05
Andrews Institute ASC, LLC                            01/08/05          01/08/05
                                                 For Excess Coverage   For Excess
                                                                        Coverage
Andrews Institute Rehabilitation, LLC                 08/01/07          08/01/07
A.I., LLC (Assets & Liabilities transferred to        12/01/04          12/01/04        10/01/14
Lakeview Center, Inc. July 1, 1996 but                                               Entity dissolved
remains a BHC Corporation)                                                              09/30/10
Andrews Research and Education Institute              12/05/05          12/05/05
(AREI) formerly Andrews-Paulos Research
and Education Institute, LLC d/b/a APREI
Langhorne Cardiology Consultants, Inc.                01/01/10          01/01/10
Endoscopy Center of Gulf Breeze, LLC                  06/28/05          06/28/05
Baptist Hospital, Inc. d/b/a P.C.C. Student           06/02/01          04/15/02
Health Center
Mobile Diagnostics, Inc. d/b/a ECG Systems,           01/01/86          04/15/02
Inc.
Physicians Laboratories                               01/01/86          04/15/02
Pensacola P.O.B. Incorporated                         01/01/86          04/15/02
The Towers Pharmacy, Inc.                             01/01/86          04/15/02

The Towers Pharmacy, Inc. d/b/a Baptist               01/11/00          04/15/02
Medical Park Pharmacy



Endurance American Specialty Insurance Company                               HLC 0103 1208
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               Named Insured                         Professional         General
                                                       Liability          Liability     Ending Date
                                                   Retroactive Date      Retroactive    (n/a if blank)
                                                                            Date
The Friary of Baptist Health Care, Inc. (Assets        01/07/93           04/15/02
& Liabilities transferred to Lakeview Center,
Inc. July 1, 1996 but remains a BHC corp.)
Escambia County Alabama Community                      09/26/06           09/26/06
Hospitals, Inc. (ECACH) Atmore Community
Home Care, LLC
Baptist Hospital, Inc. d/b/a Baptist Home              03/01/04           03/01/04     Entity closed and
Health Care Durable Medical Equipment and                                                 assets sold
Supplies                                                                                   07/01/12
Baptist Home Health Care                               01/01/97           04/15/02        Entity sold
Formerly VNA, affiliated with BHC as result                                                01/31/11
of Lakeview Center, Inc. affiliation July 7,
1996,

Placed under Baptist Hospital January 1,
1997, name changed to Baptist Home Health
Care September 1, 2000
Baptist Hospital Primary Care, LLC                     11/16/07           11/16/07     Entity dissolved
                                                                                          12/31/10
Pathways for Change, LLC                               01/01/10           01/01/10        09/01/10
Reflections Medical Spa, LLC d/b/a Portofino           05/01/04           05/01/04        12/29/06
Medical Spa
Baptist Neonatology LLC                                03/01/04           03/01/04         05/01/05
Baptist Imaging Center, LLC                            11/07/07           11/07/07     Entity dissolved
                                                                                           12/31/10
Baptist Hospital, Inc. d/b/a U.W.F. Student            01/01/86           04/15/02      Disaffiliation
Health Center                                                                              07/31/10
Baptist Medical Park Navarre - Diagnostic              05/01/00           04/15/02     Entity Dissolved
Center, LLC
Baptist Medical Park Navarre - Surgery                 05/01/00           04/15/02     Entity Dissolved
Center, LLC
Azalea Trace, Inc.                                      07/01/00          04/15/02        Entity sold
                                                  For primary coverage                     02/01/03
                                                        05/01/00
                                                  For excess coverage
Gulf Coast Health Technologies, Inc.                   01/01/86           04/15/02         01/16/03
Gulf Coast Health Cooperative                          01/01/86           04/15/02     Entity Dissolved
Doctors Urgent Care Center, Inc. d/b/a North           01/01/86           04/15/02         12/30/93
Davis Family Medicine Center (Inactive)
Davis Highway Land Partnership (Inactive)              01/01/86           04/15/02         12/30/93
Heart-Lung Rehabilitation Center, Inc.                 01/01/86           04/15/02         02/04/93
(Inactive)

Endurance American Specialty Insurance Company                                 HLC 0103 1208
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              Named Insured                       Professional      General
                                                    Liability       Liability    Ending Date
                                                Retroactive Date   Retroactive   (n/a if blank)
                                                                      Date
Pensacola Retirement Village, Inc. (Inactive)       01/01/86        04/15/02       01/31/98
Baptist Health Affiliates, Inc. d/b/a               01/01/86        04/15/02       09/24/99
Professional Rehab Affiliates (Inactive)
Baptist Home Infusion, Inc. (Inactive)              01/01/86        04/15/02       10/16/98
Any other person or entity for whom coverage        01/01/86        04/15/02
is required to be provided by Baptist Health
Care Corporation or a subsidiary Corporation
other than Lakeview Center, Inc. or its
subsidiary (Person or Entity)




All other terms and conditions of this policy remain unchanged.




Endurance American Specialty Insurance Company                           HLC 0103 1208
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                       SERVICE OF SUIT ENDORSEMENT

            THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

In the event of failure of the Company to pay any amount claimed to be due under the terms of this
policy, the Company, at the request of the Insured, will submit to the jurisdiction of a court of competent
jurisdiction within the United States. Nothing in this condition constitutes or should be understood to
constitute a waiver of the Company’s rights to commence an action in any court of competent jurisdiction
in the United States to remove an action to a United States District Court or to seek a transfer of a case to
another court as permitted by the laws of the United States or of any state in the United States. In any suit
instituted against the Company upon this policy, the Company will abide by the final decision of such
court or of any appellate court in the event of appeal.

It is further agreed that service of process in such suit may be made upon the Senior Vice President -
Claims, 750 Third Avenue, 18th Floor, New York, NY 10017.

Further, pursuant to any statute of any state, territory, or district of the United States which makes
provision therefore, the Company hereby designates the Superintendent, Commissioner or Director of
Insurance, or other officer specified for that purpose in the statute, as its true and lawful attorney upon
whom service may be made of any lawful process in any action, suit, or proceeding instituted by or on
behalf of the Insured or any beneficiary hereunder arising out of this policy of insurance and hereby
designates the above named Senior Vice President – Claims as the person to whom the said officer is
authorized to mail such process or a true copy thereof.



This endorsement does not change any other provision of the policy.




Endurance American Specialty Insurance Company                                              HLC 1301 0512
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           U. S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN
                      ASSETS CONTROL (“OFAC”)
                      NOTICE TO POLICYHOLDERS



No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions
of your policy. You should read your policy and review your Declarations page for complete
information on the coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to
directives issued by OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on
Presidential declarations of “ national emergency” . OFAC has identified and listed numerous:

   •   Foreign agents;

   •   Front organizations;

   •   Terrorists;

   •   Terrorist organizations; and

   •   Narcotics traffickers;

as “ Specially Designated Nationals and Blocked Persons” . This list can be located on the United
States Treasury’ s w ebsite – http//w w w .treas.gov/ofac.

In accordance w ith OFAC regulations, if it is determined that you or any other insured, or any person
or entity claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially
Designated National and Blocked Person, as identified by OFAC, this insurance w ill be considered a
blocked or frozen contract and all provisions of this insurance are immediately subject to OFAC.
When an insurance policy is considered to be such a blocked or frozen contract, no payments nor
premium refunds may be made w ithout authorization from OFAC. Other limitations on the premiums
and payments also apply.




Endurance American Specialty Insurance Company                                       PN-0001-0407

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 THIS ENDORSEMENT IS ATTACHED TO AND MADE PART
  OF YOUR POLICY IN RESPONSE TO THE DISCLOSURE
 REQUIREMENTS OF THE TERRORISM RISK INSURANCE
   ACT. THIS ENDORSEMENT DOES NOT GRANT ANY
COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF
         ANY COVERAGE UNDER THE POLICY.

            DISCLOSURE PURSUANT TO TERRORISM RISK INSURANCE
                        ACT – REJECTION OF OFFER


 A.    Rejection of Offer

       You have rejected the offer of terrorism coverage for Acts of Terrorism that are certified under
       the Terrorism Risk Insurance Act as reauthorized and amended in 2007, as an Act of Terrorism.
       An exclusion of terrorism losses has been made a part of this policy.

  B.   Disclosure of Federal Participation in Payment of Terrorism Losses

       The United States government, Department of the Treasury, will pay a share of terrorism losses
       insured under the federal program. The federal share equals 85% of that portion of the amount of
       such insured losses that exceeds the applicable insurer retention. You have rejected this offer
       of coverage.




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Endurance American Specialty Insurance Company                                        HLC 1311 0108
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                     GENERAL CHANGE ENDORSEMENT

 Named Insured:       Baptist Health Care Corporation

                      HLC10006856901
 Policy No.:
                                              I Endorsement Effective Date: I April 15, 2016
 Issued By:           Endurance American Specialty Insurance Company            Endorsement No.:         1
                                                                            I                        I
            THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.
                              Underlying Limits – Self Insured Retention
                               Defense Costs and Expenses erode SIR

Section II, General Policy Provisions, Item 2., Underlying Limits is deleted and replaced with the
following:

2.        Underlying Limits
Any underlying amounts, as listed on the Schedule of Underlying Insurance, shall only be reduced or
exhausted by the payment of losses, claims or suits which would, except for the amount thereof, be
covered by this policy and the insured shall, in addition thereto, bear all defense costs and expenses up
until such time as the underlying amounts are exhausted, with the following exception:

Type of Insurance         Hospital Professional Liability including Patient and Non-Patient General
                          Liability, Physicians Professional Liability as well as Employee Benefits
                          Liability
Carrier                   Self-Insured Retention
Policy Period             April 15, 2016 to April 15, 2017
Limits                    $2,000,000 Each Medical Incident or Occurrence
                          $2,000,000 Annual Aggregate

                          Excess of:

                          $3,000,000 Each Medical Incident or Occurrence
                          $9,000,000 Annual Aggregate

                          (inclusive of $1,000,000/$3,000,000 per physician)

The underlying amounts listed above shall be reduced or exhausted by the payment of defense costs and
expenses.

Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations, conditions
or agreements of the policy other than as above stated.




                                                             ____________________________________
                                                             Authorized Representative


Endurance American Specialty Insurance Company                                            HLC 1001 0606
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                     GENERAL CHANGE ENDORSEMENT

 Named Insured:       Baptist Health Care Corporation

                      HLC10006856901
 Policy No.:
                                              I Endorsement Effective Date: I April 15, 2016
 Issued By:           Endurance American Specialty Insurance Company             Endorsement No.:        2
                                                                             I                       I
          THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.


                                   Cancellation Clause Endorsement
                                      (Credit Rating Changes)

In consideration of the premium charged, it is hereby understood that III. Conditions, G. Cancellation is
amended by adding the following paragraph to the end thereof:

        Notwithstanding the foregoing, in the event that a financial strength rating for the Company is
        issued as follows:

        Below any of the following:
               A- by A.M. Best Co.
               BBB by Standard & Poor’s Ratings Services
               A by Fitch, or
               A-3 by Moody’s

        This policy may be canceled by the Named Insured by mailing written prior notice to the
        Company or by surrender of this policy to the Company or its authorized agent. If this policy is
        canceled by the Named Insured within 60 days after such rating downgrade, the premium due
        for the period that the policy was in-force shall not be subject to any annual minimum premium,
        short rate cancellation or any other penalty. The Insurer agrees that the pro rata proportion of the
        premium for the in-force period shall apply.




Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations, conditions
or agreements of the policy other than as above stated.




                                                              ____________________________________
                                                                      Authorized Representative




Endurance American Specialty Insurance Company                                             HLC 1001 0606
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                 GENERAL CHANGE ENDORSEMENT

 Named Insured:       Baptist Health Care Corporation

                      HLC10006856901
 Policy No.:
                                              I Endorsement Effective Date: I April 15, 2016
 Issued By:           Endurance American Specialty Insurance Company            Endorsement No.:         3
                                                                            I                        I

        THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.
                       Amendment – Renewal Agreement Endorsement


This endorsement, effective 4/15/16 forms a part of Policy No. HLC10006856901 issued to
Baptist Health Care Corporation by Endurance American Specialty Insurance Company.

In consideration of the premium charged, it is agreed that the Company will renew, and the
Named Insured will accept of, this policy as of 4/15/17 subject to the conditions set forth below:

Company Limits of Liability for the Policy Period effective 4/15/17:

$25,000,000                                       Each Occurrence or Medical Incident Limit
$25,000,000                                       General Aggregate Limit

Applicable Underlying Insurance for the Policy Period effective 4/15/17:
As per policy issued with an effective date of 4/15/16

It is agreed the Named Insured limits of liability and Company limits of liability shall
apply separately to each consecutive annual policy year.

Treatment of Defense Costs and Expenses for the Policy Period effective 4/15/17:
As per policy issued with an effective date of 4/15/16

Renewal Additional Premium due as of 4/15/17:
$422,100

Terms and Conditions applicable for the Policy Period 4/15/17:

The terms and conditions of the policy effective 4/15/16 will be incorporated into the Company’s
policy that goes into effect on 4/15/17 except as modified by the terms of this endorsement.
Renewal of the insurance does not affect the applicability of Exclusion P. Known Losses. To be
covered under the policy period effective 4/15/16, a loss, claim, or suit must be first made and
reported to the Company prior to 4/15/17. Likewise, to be covered under the policy period
effective 4/15/17, a loss, claim or suit must be first made and reported to the Company prior to
4/15/18.




Endurance American Specialty Insurance Company                                            HLC 1001 0606
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Re-underwriting Criteria:

The following conditions will trigger an underwriting review by the Company and may result in
changes to Company limits of liability, applicable underlying insurance, terms, conditions
and/or the renewal additional premium for the policy period effective 4/15/17. Any proposed
changes that are the outcome of the re-underwriting review would effectively cancel the
cancellation penalty shown below.

   1) An increase in second policy year exposures, relative to first policy year exposures, that is
   equal to or greater than 10% of your total projected exposures as calculated as determined by
   Baptist’s engaged actuary with Total Exposure as the exposure unit measured. As a baseline,
   the Total Exposure agreed upon for the effective date of 4/15/16 is 1,198.
   2) An increase equal to or greater than 20% of the total incurred Ultimate net losses for the
   policy years 4/15/10 to 4/15/15 as detailed in the 2016 submission file named, “gl pl claims
   1991-2015”. For the purpose of the comparison, it is agreed any one single Ultimate net loss
   that exceeds $1,000,000 will be capped at $1,000,000. Based on this criteria, the agreed upon
   total incurred Ultimate net losses figure on 4/15/16 is $5,516,492. For the purpose of this
   comparison, we will recalculate the same policy years of 4/15/10 to 4/15/15 90 days prior to
   4/15/17;
   3) Payment of any one occurrence or medical incident that exceeds $5 million of total paid
   indemnity and expenses within the timeframe of 90 days prior to 4/15/16 to 90 days prior to
   4/15/17 regardless of when the occurrence or medical incident was incurred or reported.;
   4) There has been a change in law (including insurance regulation) or insurance regulatory
   action which prevents the Company from issuing a renewal policy at the same terms and
   conditions as this Policy;
   5) There is a material change in:
          Your operations
          Claims adjudication practices or risk management department

        In lieu of specifically defining Item 5. above, the Company agrees that an assessment of
        these items will be made by the Company by 90 days prior to 4/15/17. If the Company
        believes there is a material change in any of the criteria listed in Item 5. and subsequently
        re-underwrites the coverage provided, and the result is not acceptable to the Named
        Insured, the renewal policy, effective 4/15/17, may be terminated without any
        cancellation penalty at the conclusion of the first policy period.

Cancellation Penalty applicable to the terms of this Renewal Agreement Endorsement:

A cancellation penalty will be required in the event the Named Insured cancels either policy
period. A cancellation penalty would be equal to the normal short rate penalty plus 5%
applicable to the policy period(s) being cancelled. This cancellation penalty would not be
triggered in the event changes due to re-underwriting (Items 1-5. above) are unacceptable to
Named Insured.

Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations,
conditions or agreements of the policy other than as above stated.



                                                                _________________________
                                                                  Authorized Representative

Endurance American Specialty Insurance Company                                               HLC 1001 0606
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                     GENERAL CHANGE ENDORSEMENT

 Named Insured:       Baptist Health Care Corporation

 Policy No.:          HLC10006856901               Endorsement Effective Date:        April 15, 2016
                                               I                                  I
 Issued By:           Endurance American Specialty Insurance Company                                    4
                                                                              I Endorsement No.: I
          THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.
                   Amendment of Limits of Liability – Separate Aggregate Towers

Section II, General Policy Provisions, Item 1. Limits of Liability amended as follows:

1.      Limits of Liability
        A.      Our liability for ultimate net loss under this policy, regardless of the number of persons
                 or organizations who are insureds, the number of coverages provided by the attached
                Coverage Part(s), or the number of losses or claims made or suits brought against any
                and all insureds, shall be determined as follows:

                          i. The Each Occurrence or Medical Incident Limit set forth in Item 3(a) of the
                             Declarations is the most we will pay for any one occurrence or medical
                             incident. Should any single event result in both an occurrence and a
                             medical incident for which coverage is provided by the terms and conditions
                             of the coverage parts of this policy, our total liability for such single event
                             shall not exceed the amount stated as the Each Occurrence or Medical
                             Incident Limit;
                         ii. Subject to paragraph (i) above, our liability for ultimate net loss arising from
                             Section I Coverage A – Umbrella Claims Made Professional Liability –
                             shall not exceed the amount indicated as Aggregate Limits, as stated in Item
                             3(b) of the Declarations
                        iii. Subject to paragraph (i) above, our liability for ultimate net loss arising from
                             Section I. Coverage B – Umbrella Occurrence General Liability, shall not
                             exceed the amount indicated as Aggregate Limits, as stated in Item 3(b) of
                             the Declarations.

        The aggregate limits as stated in Item 3(b) of the Declarations will apply separately to (ii) and
        (iii) above.

Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations, conditions
or agreements of the policy other than as above stated.


                                                                   ~~
                                                               ____________________________________
                                                                       Authorized Representative



Endurance American Specialty Insurance Company                                               HLC 1001 0606
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                    GENERAL CHANGE ENDORSEMENT

 Named Insured:      Baptist Health Care Corporation

                     HLC10006856901
 Policy No.:
                                            I Endorsement Effective Date: I April 15, 2016
 Issued By:          Endurance American Specialty Insurance Company          Endorsement No.:       5
                                                                         I                      I

          THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.
                     Supplemental Reimbursement Coverage(s) Endorsement

LIMITS OF LIABILITY

A) Evacuation Expense Reimbursement
      Limit of Liability:                                     $50,000
      Deductible/Self Insured Retention:                      $ 5,000

B) Disinfection Expense Reimbursement
       Limit of Liability:                                    $50,000
       Deductible/Self Insured Retention:                     $ 5,000

C) Abduction Reimbursement
      Limit of Liability:                                     $50,000
      Deductible/Self Insured Retention:                      $ 5,000

Subject to all of the terms and conditions of this endorsement, the Underwriter and the Named Insured
agree as follows:

I.     INSURING AGREEMENTS

(A)    Evacuation Expense Reimbursement Insurance:

       Upon satisfactory proof of payment by the Named Insured, the Underwriter will reimburse the
       Named Insured up to the amount set forth in ITEM A) of the Limits of Liability for Evacuation
       Expense actually paid by the Named Insured during the Agreement Period in connection with
       an Evacuation occurring during the Agreement Period.

(B)    Disinfection Expense Reimbursement Insurance:

       Upon satisfactory proof of payment by the Named Insured, the Underwriter will reimburse the
       Named Insured up to the amount set forth in ITEM B) of the Limits of Liability for Disinfection
       Expense actually paid by the Named Insured during the Agreement Period in connection with
       a Disinfection Event occurring during the Agreement Period.




Endurance American Specialty Insurance Company                                         HLC 1001 0606
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(C)    Abduction Reimbursement Insurance:

       Upon satisfactory proof of payment by the Named Insured, the Underwriter will reimburse the
       Named Insured up to the amount set forth in ITEM C) of the Limits of Liability for Abduction
       Expense actually paid by the Named Insured during the Agreement Period in connection with
       an Abduction occurring during the Agreement Period.

II.    DEFINITIONS APPLICABLE TO ALL COVERAGE PARTS OF THIS ENDORSEMENT

(A)    Abduction means the wrongful Abduction of a Covered Child by any person or group, other
       than a Parent, from any of the Named Insured’s facilities.

(B)    Abduction Expenses means:

       (1)    Reasonable fees and expenses of an independent detective agency retained to locate a
              Covered Child following the Abduction of such Covered Child;

       (2)    Reasonable fees and expenses of an independent public relations consultant incurred
              solely and directly in connection with, during the period of, and up to the maximum of
              thirty (30) days after, an Abduction;

       (3)    Reasonable cost of publicity incurred to locate a Covered Child following the
              Abduction of such Covered Child;

       (4)    Reasonable expenses for travel and accommodation occurred by the Parent(s) of a
              Covered Child during the period of the Abduction of such Covered Child and solely
              and directly resulting from such Abduction;

       (5)    Other reasonable and necessary expenses incurred by the Parent(s) of a Covered Child
              during the period of the Abduction of such Covered Child and solely and directly
              resulting from such Abduction;

       (6)    The salary of the Parent(s) of a Covered Child until seven (7) days after the Covered
              Child’s release or twelve (12) months after the date of the Abduction of such Covered
              Child, whichever occurs first, if the employer(s) of such Parent(s) fail to pay such
              salary;

       (7)    Costs of psychiatric counseling incurred by and for the benefit of the Parent(s) of a
              Covered Child for twelve (12) months after the date of the Abduction of such Covered
              Child, but not including any remuneration, salaries, overhead, or benefits expenses of the
              Insured;

       (8)    Costs of psychiatric counseling incurred by and for the benefit of a Covered Child for
              twelve (12) months after the date of the Abduction of such Covered Child, but not
              including any remuneration, salaries, overhead, or benefits expenses of the Named
              Insured; and
       (9)    A reward paid to any natural person who provided information not otherwise available
              leading to the location of an abducted Covered Child and the arrest and conviction of the



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                person(s) or group responsible for such Abduction, if the offer of such reward is
                approved by law enforcement officials.

(C)     Agreement Period means the period from the Inception Date of this Agreement stated in Item
        2 of the Declarations to the Expiration Date of this Agreement stated in Item 2 of the
        Declarations or to any earlier cancellation date of this Agreement.

(D)     Covered Child means a child up to the age of seven (7) years.

(E)     Covered Expense means any Evacuation Expense, Disinfection Expense or Abduction
        Expense actually paid by the Named Insured as a result of any Evacuation, Disinfection Event
        or Abduction that occurs during the Agreement Period.

(F)     Disinfection Event means any case or series of cases of the MRSA virus or other facility-borne
        infectious virus, bacteria or disease that requires reporting of such case or series of cases to any
        local, state or federal governmental or healthcare oversight agency or entity.

(G)     Disinfection Expense means reasonable fees and costs incurred by the Named Insured to clean
        and disinfect the Named Insured’s facility after any Disinfection Event. Disinfection Expense
        includes costs (a) to engage third party providers of cleaning/disinfection services; (b) to notify
        patients/residents, visitors or other potentially affected persons; and (c) incurred in
        the management of public relations with respect to such Disinfection Event. Disinfection
        Expense does not include any remuneration, salaries, overhead, fees, loss of earning
        reimbursement or benefit expenses of the Named Insured, or cost of cleaning/disinfecting
        supplies or products.

(H)     Evacuation means the removal from one or more of the Named Insured’s facilities to any other
        location of a majority of the patients of such facility(ies) as a result of any natural or man-made
        occurrence that, in the reasonable judgment of the Named Insured’s management, causes or
        could potentially cause such facility(ies) to be unsafe for such patients.

(I)     Evacuation Expense means reasonable costs incurred in connection with an Evacuation,
        including costs associated with transporting and lodging patients who have been evacuated.
        Evacuation Expense does not include any remuneration, salaries, overhead or benefit expenses
        of the Named Insured.

(J)     Parent means the individual(s) recognized by a court of competent jurisdiction to have legal
        custody of a Covered Child.

(K)     Ransom means cash surrendered by or on behalf of the Named Insured to meet a demand for
        the release of a Covered Child who has been the subject of an Abduction.

(L)     Underwriter means Endurance American Specialty Insurance Company.




III.    EXCLUSIONS



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(A)    Exclusions Applicable to INSURING AGREEMENT I. (C) OF THIS ENDORSEMENT:

       In addition to the EXCLUSIONS listed under (B) below, no coverage will be available under
       INSURING AGREEMENT (C), and the Underwriter will not pay Covered Expense based
       upon, arising out of, directly or indirectly resulting from, in consequence of, or in any way
       involving any:

       (1)     losses caused by any fraudulent, dishonest or criminal act of the Named Insured or any
               Parent, whether acting alone or in collusion with others;

       (2)     Ransom; or

       (3)     Abduction Expenses for which the Named Insured has coverage under any other
               insurance Agreement, regardless of whether such Agreement is stated to be primary,
               contributory, excess, contingent, or otherwise.

(B)    Exclusions Applicable to All INSURING AGREEMENTS OF THIS ENDORSEMENT:

       Except as otherwise expressly provided in this Agreement, this Agreement does not apply to, and
       the Underwriter will not pay Covered Expense based upon, arising out of, directly or indirectly
       resulting from, in consequence of, or in any way involving any:

       (1)     Evacuation, Disinfection Event or Abduction that happened before the Inception Date
               of this Agreement;

       (2)     dishonest, fraudulent, criminal or intentionally malicious act, error or omission by a
               Named Insured; or any willful violation of law, statute, rule or regulation by a
               Named Insured;

       (3)     obligation which a Named Insured has assumed under a written or oral contract or
               agreement; except this EXCLUSION (3) will not apply to liability a Named Insured
               would have had in the absence of such contract or agreement;

IV.    GENERAL CONDITIONS OF THIS ENDORSEMENT

(A)    Limits of Liability

       (1)     Insuring Agreement A – Evacuation Expense Reimbursement

               The amount stated in ITEM A. of the Limits of Liability will be the Underwriter’s
               maximum Limit of Liability for all Covered Expense for which this Agreement provides
               coverage under INSURING AGREEMENT I. (A).

       (2)     Insuring Agreement B – Disinfection Expense Reimbursement

               The amount stated in ITEM B) of the Limits of Liability will be the Underwriter’s
               maximum Limit of Liability for all Covered Expense for which this Agreement provides
               coverage under INSURING AGREEMENT I. (B).



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       (3)     Insuring Agreement C – Abduction Expense Reimbursement

               The amount stated in ITEM C of the Limits of Liability will be the Underwriter’s
               maximum Limit of Liability for all Covered Expense for which this Agreement provides
               coverage under INSURING AGREEMENT I. (C).

       (4)     The Named Insured shall be responsible for payment in full of the applicable deductible
               or self-insured retention stated in the Limits of Liability, and the Underwriter’s
               obligation to reimburse the Named Insured for Covered Expense under this Agreement
               shall be excess of such deductible or self-insured retention.

       (5)     All Named Insureds under this Agreement share the applicable Limit of Liability.

(B)    Reporting of Covered Expense:

       In the event that the Named Insured incurs Covered Expense, the Named Insured shall give
       the Underwriter written notice thereof as soon as practicable thereafter. Such notice shall give
       the full particulars of the Evacuation, Disinfection Event or Abduction, as applicable, including
       but not limited to, information on the time and place of the event, a description of the event, the
       identity of the Named Insured involved, and any other salient facts or information concerning
       the event.

(C)    Cancellation; Non-Renewal:

       (1)     The Underwriter may cancel this Agreement by mailing or delivering a written notice of
               cancellation to the First Named Insured stating when, not less than sixty (60) days
               thereafter, cancellation will be effective. In the event of non-payment of premium, the
               Underwriter may cancel this Agreement by mailing or delivering a written notice of
               cancellation to the First Named Insured stating when, not less than ten (10) days
               thereafter, cancellation will be effective.

       (2)     The First Named Insured may cancel this Agreement by mailing the Underwriter
               written notice stating when, not later than the Expiration Date set forth in Item 2 of the
               Declarations, such cancellation will be effective.

        (3)    If the Underwriter cancels the Agreement, the unearned premium will be computed
               prorate. If the First Named Insured cancels the Agreement, the unearned
               premium will be computed in accordance with the customary short rate table and
               procedure. Premium adjustment may be made either at the time cancellation is effective
               or as soon as practicable after cancellation becomes effective, but payment or tender of
               unearned premium is not a condition of cancellation.

       (4)     The Underwriter will not be required to renew this Agreement upon its expiration.




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(D)    Other Insurance:

       Any Covered Expense insured under any other insurance Agreement shall be paid first by such
       Agreement. It is the intent of this Agreement to apply only to Covered Expense that is more than
       the total limit of all deductibles, limits of liability, self-insured amounts or other insurance or risk
       transfer arrangements, whether primary, contributory, excess, contingent, fronting or otherwise
       and whether or not collectible. These provisions do not apply to other insurance policies or risk
       transfer arrangements written as specific umbrella or excess insurance over the Limit of Liability
       of this Agreement. This Agreement shall not be subject to the terms of any other Agreement of
       insurance or plan or program of self-insurance; and in no event will the Underwriter pay more
       than the applicable Limit of Liability set forth in Limits of Liability.

(E)    Exhaustion:

       If the Underwriter’s Limit of Liability is exhausted by the payment of Covered Expense, the
       premium will be fully earned, all obligations of the Underwriter under this Agreement will be
       completely fulfilled and exhausted, and the Underwriter will have no further obligations of any
       kind or nature whatsoever under this Agreement.

(F)    Authorization and Notices:

       The First Named Insured will act on behalf of all Named Insureds with respect to the giving or
       receiving of any notices under this Agreement; the payment of premiums to, and receiving of
       return premiums from, the Underwriter; and the receiving and acceptance of any endorsements
       issued to form a part of this Agreement.

(G)    Notice:

       Notice to any Named Insured shall be sent to the First Named Insured at the address designated
       in Item 1 of the Declarations. Notice to the Underwriter shall be sent to:

       Claims Department of Endurance Specialty Insurance Marketing Corporation, 725 S. Figueroa
       St., Suite 2100, Los Angeles, CA 90017, or Telephone: (213) 270-7017 or Fax: (213) 270-7800
       or E-Mail addressed to: Eclaims@enhinsurance.com,
(H)    Changes:

       This Agreement can only be altered, waived, or changed by written endorsement issued to form a
       part of this Agreement.


(I)    Assignment:

       No assignment of interest under this Agreement shall bind the Underwriter without its written
       consent issued as an endorsement to form a part of this Agreement.




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(J)     Entire Agreement:

        The Named Insured agrees that this Agreement, including any endorsements, constitutes the
        entire agreement between them and the Underwriter or any of its agents relating to this
        insurance.

(K)     Headings:

        The descriptions in the headings and sub-headings of this Agreement are solely for convenience,
        and form no part of the terms and conditions of coverage.



Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations, conditions
or agreements of the policy other than as above stated.




                                                                 _____________________________
                                                                      Authorized Representative




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                     GENERAL CHANGE ENDORSEMENT

 Named Insured:       Baptist Health Care Corporation

 Policy No.:          HLC10006856901              Endorsement Effective Date:          April 15, 2016
                                              I                                    I
 Issued By:           Endurance American Specialty Insurance Company             Endorsement No.:           6
                                                                             I                          I
          THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.
                        Umbrella Claims Made General Liability Endorsement

Section I, Insuring Agreement, Section B., Umbrella Occurrence General Liability is deleted and replaced
with the following:

B.    Umbrella Claims Made General Liability

We will indemnify you, subject to the Limits of Liability set forth in the Declarations, for Ultimate Net
Loss, including Defense Costs and Expenses in excess of the Applicable Underlying Insurance, which
you become legally obligated to pay as a result of a Claim alleging Bodily Injury, Property Damage or
Personal or Advertising Injury caused by an Occurrence; provided always that:

1. such Claim for Bodily Injury, Property Damage or Personal or Advertising Injury is first made
against you during the Policy Period or any applicable Extended Reporting Period; and

2. notice of such Claim is given to us in accordance with the terms of this Policy.


Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations, conditions
or agreements of the policy other than as above stated.




                                                              ____________________________________
                                                              Authorized Representative




Endurance American Specialty Insurance Company                                                HLC 1001 0606
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                     GENERAL CHANGE ENDORSEMENT

 Named Insured:        Baptist Health Care Corporation

 Policy No.:           HLC10006856901              Endorsement Effective Date:          April 15, 2016
                                               I                                    I
 Issued By:            Endurance American Specialty Insurance Company             Endorsement No.:           7
                                                                              I                          I

               THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.
      EMPLOYEE BENEFIT LIABILITY ENDORSEMENT-CLAIMS-MADE COVERAGE

This Endorsement removes Exclusion K. from the Policy. The following coverage section is added to the
Policy.

Underlying Amount:

$2,000,000 each occurrence/$2,000,000 aggregate shared buffer with Hospital Professional Liability,
Patient General Liability and Non-Patient General Liability xs of $3,000,000 each employee/$9,000,000
aggregate except:

$1,000,000 each employee/$3,000,000 aggregate–applies to Andrews Institute Ambulatory Surgery
Center

Retroactive Date: April 15, 2002, except
                  November 1, 2006 applies to Andrews Institute Ambulatory Surgery Center

A.      SECTION I. INSURING AGREEMENT

We will indemnify you, subject to the Limits of Liability set forth in this Endorsement, for Ultimate Net
Loss, including Defense Costs and Expenses in excess of the Applicable Underlying Insurance, which
you become legally obligated to pay as a result of a Claim alleging negligence in the Administration of
your Employee Benefit Program, provided always that:

        1.     such Claim is first made against you during the Policy Period or any applicable Extended
Reporting Period; and

        2.       notice of such Claim is given to us in accordance with the terms of this Policy.

B.      EXCLUSIONS

This insurance does not apply to:

        1.       Available Benefits

Any Claim for benefits to the extent that said benefits are available, with reasonable cooperation from the
Insured, from applicable accrued funds or other collectible insurance.




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       2.      Bodily Injury, Property Damage, Personal or Advertising Injury

Any Claim that arises out of any Bodily Injury, Property Damage, Personal or Advertising Injury.


        3.      Contractual Liability
Any Claim that arises out of or results from any obligation of any Insured to pay damages by reason of
the assumption of liability in a contract or agreement.

       4.      Criminal Acts

Any Claim brought about or contributed to by any dishonest or fraudulent act or omission
committed by or at the direction of any Insured; any willful violation of any statute, rule or law;
or the gaining by any Insured of any profit, remuneration or advantage to which such Insured is
not legally entitled. The determination of the applicability of this Exclusion must be established
by an admission, final adjudication or finding in a proceeding constituting a Claim under the
Policy or any proceeding separate from or collateral to the Claim.

       5.      Employment Practices Liability

Any costs, fines or other liability arising out of a Claim alleging:

       (i)     refusal to employ;
       (ii)    termination of employment;
       (iii)   coercion, demotion, evaluation, reassignment, discipline, defamation, harassment,
               humiliation, discrimination, or other employment-related practices, policies, acts
               or omissions; or
       (iv)    consequential bodily injury, property damage, personal or advertising injury
               or medical incident as a result of any acts described in parts (i), (ii) or (iii) of this
               Exclusion; or
       (v)     the National Labor Relations Act (29 U.S.C. 151 et seq.), or related statutes or
               any law, statute or regulation of any jurisdiction similar to the foregoing, or
               arising as a result of a dispute with any labor union or labor organization,
               including, but not limited to, a lockout, strike, picket line, the hiring of
               replacement workers, outsourcing or other similar actions, or arising out of a
               collective bargaining or other similar agreement.

       6.      ERISA

Any violation or alleged violation of the Employee Retirement Income Security Act of 1974 or
any amendment or addition thereto or similar provisions of any federal, state or local law.

       7.      Insufficient Funds

Damages arising from an insufficiency of funds to fulfill any obligations under any plan included
in the Employee Benefit Program.



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       8.     Inadequacy of Performance of Investments

Any Claim that arises from any investment, investment program or individual security or from
the failure to perform of any investment, investment program or individual security.

       9.     Investment Advice

Any Claim that arises from errors or omissions in giving or failing to give opinions, statements
or advice regarding participating in or not participating in any investment program.

       10.    Taxes, Fines or Penalties

Any taxes, fines or penalties, including, but not limited to, those imposed by the Internal
Revenue Service or similar state or local entities.

       11.    Workers’ Compensation and Similar Laws

Any Claim that arises from a failure to comply with workers’ compensation, unemployment
compensation, disability benefits, social security laws or any other similar or related laws.

C.     DEFINITIONS

For the purposes of the coverage provided by this Endorsement, the following definitions are
added or altered:

       1.     Administration means:

              (a)     counseling of Employees and their beneficiaries regarding their eligibility
              for the Employee Benefit Program;
              (b)     record keeping in connection with the Employee Benefit Program;
              (c)     enrolling, continuing, cancelling or terminating the participation of any
              Employee or beneficiary in the Employee Benefit Program.


       2.     Employee Benefit Program means:

              (a)     group life insurance, group health insurance, including dental, vision, and
                      hearing plans, and flexible spending accounts when provided to eligible
                      Employees;
              (b)     profit sharing plans, employee savings plans, employee stock ownership
                      plans, pension plans and stock subscription plans when provided to
                      eligible Employees;
              (c)     workers’ compensation and disability benefits, unemployment insurance
                      and social security benefits; and




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                (d)     vacation plans, leave of absence plans (including military leave, maternity
                        leave, and family leave), tuition assistance plans, and transportation and
                        health club subsidies.


        3.      Suit means:

                A civil proceeding in which damages because of an act, error or omission to
                which this coverage applies is alleged. A suit includes, but is not limited to, an
                arbitration proceeding or other alternative dispute resolution in which damages
                are claims.


Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations, conditions
or agreements of the policy other than as above stated.




                                                              ____________________________________
                                                                      Authorized Representative




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                 GENERAL CHANGE ENDORSEMENT

 Named Insured:       Baptist Health Care Corporation

                      HLC10006856901
 Policy No.:
                                              I Endorsement Effective Date: I April 15, 2016
 Issued By:           Endurance American Specialty Insurance Company            Endorsement No.:         3
                                                                            I                        I

        THIS ENDORSEMENT CHANGES THIS POLICY, PLEASE READ IT CAREFULLY.
                       Amendment – Renewal Agreement Endorsement


This endorsement, effective 4/15/16 forms a part of Policy No. HLC10006856901 issued to
Baptist Health Care Corporation by Endurance American Specialty Insurance Company.

In consideration of the premium charged, it is agreed that the Company will renew, and the
Named Insured will accept of, this policy as of 4/15/17 subject to the conditions set forth below:

Company Limits of Liability for the Policy Period effective 4/15/17:

$25,000,000                                       Each Occurrence or Medical Incident Limit
$25,000,000                                       General Aggregate Limit

Applicable Underlying Insurance for the Policy Period effective 4/15/17:
As per policy issued with an effective date of 4/15/16

It is agreed the Named Insured limits of liability and Company limits of liability shall
apply separately to each consecutive annual policy year.

Treatment of Defense Costs and Expenses for the Policy Period effective 4/15/17:
As per policy issued with an effective date of 4/15/16

Renewal Additional Premium due as of 4/15/17:
$422,100

Terms and Conditions applicable for the Policy Period 4/15/17:

The terms and conditions of the policy effective 4/15/16 will be incorporated into the Company’s
policy that goes into effect on 4/15/17 except as modified by the terms of this endorsement.
Renewal of the insurance does not affect the applicability of Exclusion P. Known Losses. To be
covered under the policy period effective 4/15/16, a loss, claim, or suit must be first made and
reported to the Company prior to 4/15/17. Likewise, to be covered under the policy period
effective 4/15/17, a loss, claim or suit must be first made and reported to the Company prior to
4/15/18.




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Re-underwriting Criteria:

The following conditions will trigger an underwriting review by the Company and may result in
changes to Company limits of liability, applicable underlying insurance, terms, conditions
and/or the renewal additional premium for the policy period effective 4/15/17. Any proposed
changes that are the outcome of the re-underwriting review would effectively cancel the
cancellation penalty shown below.

   1) An increase in second policy year exposures, relative to first policy year exposures, that is
   equal to or greater than 10% of your total projected exposures as calculated as determined by
   Baptist’s engaged actuary with Total Exposure as the exposure unit measured. As a baseline,
   the Total Exposure agreed upon for the effective date of 4/15/16 is 1,198.
   2) An increase equal to or greater than 20% of the total incurred Ultimate net losses for the
   policy years 4/15/10 to 4/15/15 as detailed in the 2016 submission file named, “gl pl claims
   1991-2015”. For the purpose of the comparison, it is agreed any one single Ultimate net loss
   that exceeds $1,000,000 will be capped at $1,000,000. Based on this criteria, the agreed upon
   total incurred Ultimate net losses figure on 4/15/16 is $5,516,492. For the purpose of this
   comparison, we will recalculate the same policy years of 4/15/10 to 4/15/15 90 days prior to
   4/15/17;
   3) Payment of any one occurrence or medical incident that exceeds $5 million of total paid
   indemnity and expenses within the timeframe of 90 days prior to 4/15/16 to 90 days prior to
   4/15/17 regardless of when the occurrence or medical incident was incurred or reported.;
   4) There has been a change in law (including insurance regulation) or insurance regulatory
   action which prevents the Company from issuing a renewal policy at the same terms and
   conditions as this Policy;
   5) There is a material change in:
          Your operations
          Claims adjudication practices or risk management department

        In lieu of specifically defining Item 5. above, the Company agrees that an assessment of
        these items will be made by the Company by 90 days prior to 4/15/17. If the Company
        believes there is a material change in any of the criteria listed in Item 5. and subsequently
        re-underwrites the coverage provided, and the result is not acceptable to the Named
        Insured, the renewal policy, effective 4/15/17, may be terminated without any
        cancellation penalty at the conclusion of the first policy period.

Cancellation Penalty applicable to the terms of this Renewal Agreement Endorsement:

A cancellation penalty will be required in the event the Named Insured cancels either policy
period. A cancellation penalty would be equal to the normal short rate penalty plus 5%
applicable to the policy period(s) being cancelled. This cancellation penalty would not be
triggered in the event changes due to re-underwriting (Items 1-5. above) are unacceptable to
Named Insured.

Nothing herein contained shall vary, alter, waive, or extend any of the terms, representations,
conditions or agreements of the policy other than as above stated.



                                                                _________________________
                                                                  Authorized Representative

Endurance American Specialty Insurance Company                                               HLC 1001 0606
